 Case 10-30942    Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20      Desc Main
                             Document      Page 1 of 91



               UNITED STATES BANKRUPTCY COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION


In the Matter of:.                         )          CASE NO. 10-30942
WILLIAM W. GILLESPIE, JR and               )
JIMMIE C. GILLESPIE                        )
                                           )
DEBTORS                                    )     A Chapter 11 Reorganization
                                           )

                  AMENDED PLAN OF REORGANIZATION

      Pursuant to the provisions of Section 1123 of the Bankruptcy Code (11
U.S.C. § 1123), The Debtors, William W. Gillespie and Jimmie C. Gillespie.,
hereby submit the following Amended Plan of Reorganization.

                             I. SUMMARY OF PLAN

      The Debtors’ Amended Plan of Reorganization (hereinafter “Plan”) is based
on Debtors’ belief that the interests of its creditors will be best served if they are
allowed to reorganize their debts. Debtors will fund the plan from rental income
derived from their rental properties.

       The Debtors will pay administrative costs in full within ten days of the
Effective Date or upon such other mutually acceptable terms as the parties may
agree. Such claims remaining unpaid ten (10) days following the Effective Date
shall accrue interest at a rate of 8% per annum.

       Any and all priority taxes due and owing to the Internal Revenue Service
Gastonia County Tax Collector or any other county or city taxing authority shall be
paid over a period of five years in monthly installments with interest at the
statutory rate as of the effective Date, currently four percent (4%) per annum
beginning on 15th day of the first full month following the Effective Date.

      The Debtors will treat some of the claims of Alliance Bank (“Alliance”),
American Home Mortgage Servicing, Inc. (“AHM”), Capital Bank (“Capital”),
Carolina Trust Bank (“CTB”), Cherryville Federal Bank (“Cherryville”), Fidelity
Bank (“Fidelity”), Fifth Third Bank (“Fifth Third”), First National Bank (“First
                                          1
 Case 10-30942   Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                            Document      Page 2 of 91



National”), Litton, and RBC Centura (“RBC”), as fully secured as described more
fully herein.

      The Debtors will treat some of the claims of American Home Mortgage
Servicing, Inc. (“AHM”), Bank of America (“BAC”), General Motors Acceptance,
Corp. (“GMAC”), IndyMac, Litton, Loan Care (“LoanCare”), RBC Centura
(“RBC”), J.P. Morgan & Chase (“Chase”), U.S. Bank, and Wells Fargo Bank
(“Wells Fargo”), as partially secured based upon the value of the collateral as
described more fully herein.

      The Debtors shall assume the following residential leases:

1. Alissa Smith, 1001 E. Harrison Ave, one year lease with a monthly payment of
$882.00.

2. Erica Brown, 1003 E. Harrison Ave, one year lease with monthly payment of
$701.00.

3. Venicia Mora & Samuel Otano, 1006 Briarwood Dr., one year lease with a
monthly payment of $625.00.

4. Doreva Wilkerson,1008 Briarwood Dr. one year lease with payments of $0.00.

5. Stephanie Lindsay, 1033 Parkview Drive, one year lease with a monthly

payment of $600.00 (Subsidy TBD).

6. Jonie Mitchell, 1063 Parkview Drive, one year lease with monthly payments of

$ 550.00.

7. Tammy Mitchell, 1112 West Davidson Ave., one year lease with monthly

payments of 649.00.

8. Latoya Glover, 1114 West Davidson Ave., one year lease with monthly

payments of $588.00.



                                        2
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                            Document      Page 3 of 91



9. Julia Grice, 112 Miller Street, one year lease with monthly payments of

$625.00.

10. Kennette Coker, 1208 West Walnut Ave., one year lease with monthly

payments of $719.00.

11. Whitney McKinney, 149 Winget Circle, one year lease with monthly

payments of $515.00.

12. Tomecka Currence 1804 South Perry Street, one year lease with a monthly

payment of $675.00.

13. George & Michele Davis, 1816 Middle Street, one year lease with a monthly

payment of $725.00.

14. Hattie Walker, 1817 Middle Street, one year lease with a monthly payment of

$588.00.

15. LaSonya Jordon, 1820 Middle Street, one year lease with a monthly payment

of $725.00.

16. Darlene Thompson, 1823 Middle Street, one year lease with a monthly

payment of $525.00.

17. Twanna Alston, 1824 Middle Street, one year lease with a monthly payment of

$725.00.

18. Brandon Jefferies & Veronica Erwin, 1827 Middle Street, one year lease with a

monthly payment of $575.00.


                                        3
 Case 10-30942   Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                           Document      Page 4 of 91



19. Dayonna Parks, 1828 Middle Street, one year lease with a monthly payment of

$725.00.

20. Marsha Lowery, 1831 Middle Street, one year lease with a monthly payment of

$567.00.

21. Marie White, 1832 Middle Street, one year lease with a monthly payment of

$701.00.

22. Kertinna Kendrick,1836 Middle Street, one year lease with a monthly payment

of $761.00.

23. Rosa Sheppard, 1837 Middle Street, one year lease with a monthly payment of

$540.00.

24. JaTavia Strickland, 1840 Middle Street, one year lease with a monthly payment

of $683.00.

25. Bronda Mason, 1843 Middle Street, one year lease with a monthly payment of

$588.00.

26. Eugenia Kennedy, 2000 Foxworth Lane, one year lease with a monthly

payment of 660.00.

27. Cindy Lee, 2000 Gothic Court, one year lease with a monthly payment of

$622.00.

28. Alex & Fidel 2001 Foxworth Lane, one year lease with a monthly payment of

$600.00.


                                        4
 Case 10-30942   Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                            Document      Page 5 of 91



29. Rosa Monroe, 2001 Gothic Court, one year lease with a monthly payment of

$609.00.

30. Carletta Mackins, 2006 Gothic Court, one year lease with a monthly payment

of $625.00.

31. Jennifer Porter, 2007 Gothic Court, one year lease with a monthly payment of

$700.00.

32. Shawn Crowder, 202 South Roxford Road, one year lease with a monthly

payment of $600.00

33. Kisha Dawkins, 206 Winget, one year lease with a monthly payment of

$560.00.

34. Janice Crump, 2094 Hartford Drive, one year lease with a monthly payment of

$625.00.

35. Torche Hall, 2102 Hartford Drive, one year lease with a monthly payment of

$623.00.

36. Tammy Thomas, 211 North Pryor Street, one year lease with a monthly

payment of $710.00.

37. Vera Martin, 2119 Hartford Drive, one year lease with a monthly payment of

$575.00.

38. Karen Richardson, 2124 Springfield, one year lease with a monthly payment of

$700.00.


                                        5
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                            Document      Page 6 of 91



39. Mike & Rose Porter, 2131 Hartford Drive, one year lease with a monthly

payment of $685.00.

40. Tonya Hoyle, 2137 Hartford Drive, one lease with a monthly payment of

$643.00.

41. Tasha & Zelma Krank, 2138 Hartford Drive, one year lease with a monthly

payment of $ 630.00.

42. Tonisha Cole, 2143 Hartford Drive, one year lease with a monthly payment of

$662.00.

43. Bridget Hatten, 2149 Hartford Drive, one year lease with a monthly payment of

$700.00.

44. LaKeena Kendrick, 2155 Hartford Drive, one year lease with a monthly

payment of $683.00.

45. Travarius & Idella Falls, 2156 Hartford Drive, one year lease with a monthly

payment of $650.00.

46. Michelle Reid, 2218 Lyon Street, one year lease with a monthly payment of

$656.00.

47. Latoya Mintz, 2319 Knight Drive, one year lease with a monthly payment of

$625.00.

48. Kimberly Nichols, 2348 Edwin Street, one year lease with a monthly payment

of $782.00.


                                        6
 Case 10-30942   Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                           Document      Page 7 of 91



49. Madeline Wilson, 2354 Edwin Street, one year lease with a monthly payment

of $782.00.

50. Valisha Hunter, 2519 Gardner Street, one year lease with a monthly payment

of $850.00.

51. Kirby & Kelly Tanner, 2523 Myers Street, one year lease with a monthly

payment of $725.00.

52. Willie & Cynthia Miller, 2525 Myers, one year lease with a monthly payment

of $735.00.

53. Sharndereia Davis, 2534 Myers Street, one year lease with a monthly payment

of$685.00.

54. James & Sheila Harrison, 2538 Myers Street, one year lease with a monthly

payment of $725.00.

55. Cathy Armstrong, 2611 Goble Street, one year lease with a monthly payment

of$570.00.

56. David & Tara Boyce, 2619 Goble Street, one year lease with a monthly

payment of $725.00.

57. Kenya Wright, 2653 Goble Street, one year lease with a monthly payment of

$650.00.

58. Audrey Allison, 2700 Westview Street, one year lease with a monthly payment

of $683.00.


                                       7
 Case 10-30942   Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                           Document      Page 8 of 91



59. Ci Ci Gaffney, 2704 Westview Street, one year lease with a monthly payment

of $725.00.

60. Dominica Maness, 2705 Goble Street, one year lease with a monthly payment

of $751.00.

61. Robin Pratt, 2709 Goble Street, one year lease with a monthly payment of

$645.00.

62. Omia Wilson, 2710 Westview Street, one year lease with a monthly payment

of $744.00.

63. Claudio Martines, 2712 Crescent Lane, one year lease with a monthly payment

of $470.00.

64. Alicia Moonie, 2713 Westview Street, one year lease with a monthly payment

of $650.00.

65. Quanoia Phillip, 2713 Westview Street, one year lease with a monthly payment

of $725.00.

66. Bobbie Rafferty, 2717 Goble Street, one year lease with a monthly payment of

$699.00.

67. Magdalana Gonzonez, 2721 Goble Street, one year lease with a monthly

payment of $719.00.

68. Crystal Johnson & Marc Wallace, 2721 Westview Street, one year lease with a

monthly payment of$575.00.


                                        8
 Case 10-30942   Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                           Document      Page 9 of 91



69. Shannon Mintz, 2722 Westview Street, one year lease with a monthly payment

of $675.00.

70. Stacy Wilson, 2723 Westview Street, one year lease with a monthly payment

of $668.00.

71. Essie Baxter, 2724 Westview Street, one year lease with a monthly payment of

$725.00.

72. Steve Keese, 2727 Westview Street, one year lease with a monthly payment of

$866.66.

73. Belinda Leach, 2733 Goble Street, one year lease with a monthly payment of

$650.00.

74. Diandre & Shemeka Phifer, 2733 Westview Street, one year lease with a

monthly payment of $725.00.

75. Jaida Robinson, 2737 Meade Street, one year lease with a monthly payment of

$0.00

76. Delores Cansler, 2802 Westview Street, one year lease with monthly payment

of $725.00.

77. Alicia Sanders, 2833 Crawford Avenue, one year lease with a monthly

payment of $675.00.

78. Tommy Gardin, 2902 Crawford Avenue, one year with a monthly payment of

$656.00.


                                       9
 Case 10-30942   Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                           Document      Page 10 of 91



79. Robin Hopper, 3019 Salem Drive, one year with a monthly payment of

$675.00.

80. Evelyn Adams, 3031 Salem Drive, one year with a monthly payment of

$560.00.

81. Latoya Spencer, 3033 Crawford Avenue, one year with a monthly payment of

$675.00.

82. Anthony Stowe, 3039 Crawford Avenue, one year with a monthly payment of

$0.00.

83. Shonda Brown, 3054 Crawford Avenue, one year lease with a monthly

payment of $772.00.

84. Quann Lloyd, 306 Midway Street, one year lease with a monthly payment of

$575.00.

85. Lisa Spencer, 308 Robinson Clemmer, one year lease with a monthly payment

of $650.00.

86. Zachary Curfman, 310 Clemmer one year lease with a monthly payment of

$650.00.

87. Shmekia Dameron, 3100 Spring Valley Drive, one year lease with a monthly

payment of $621.00.

88. Chris & Jennifer Marr, 3417 Gatewood Drive, one year lease with a monthly

payment of $470.00.


                                      10
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                            Document      Page 11 of 91



89. Thomas & Nancy Gardin, 3623 Robinson Circle, one year lease with a monthly

payment of $550.00.

90. Crescent Industries, 417 North Broad Street, one year lease with a monthly

payment of $500.00.

91. Markeitta Young, 508 East Robinson Road, one year lease with a monthly

payment of $535.00.

92. Jemetha Fleming, 511 Newcastle Road, one year lease with a monthly payment

of $650.00.

93. Alice Guthrie, 517 Tareyton Drive, one year lease with a monthly payment of

$850.00.

94. Jerricka McCorkle, 528 Tareyton Drive, one year lease with a monthly

payment of $788.00.

95. VelekaGladden, 531 Sherman Street, one year lease with a monthly payment

of $725.00.

96. Eddie Glover, 553 Tareyton Drive, one year lease with a monthly payment of

$683.00.

97. LaTrice Leeper, 60 Fox Street, one year lease with a monthly payment of

$570.00.

98. Gaston Residential Services &Evelyn Vance, 601 McFarland, one year lease

with a monthly payment of $615.00.


                                        11
 Case 10-30942   Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                           Document      Page 12 of 91



99. Roberta Matthews, 61 Fox Street, one year lease with a monthly payment of

$540.00.

100. Elizabeth Morrell, 615 North Weldon Street, one year lease with a monthly

payment of $550.00.

101. Clarnett Glover, 62 Fox Street, one year lease with a monthly payment of

$575.00.

102. Margie Phillips, 620 North Highland Street one year lease with a monthly

payment of $459.00.

103. Jacqueline Smith, 620 North Rhyne Street, one year lease with a monthly

payment of $725.00.

104. Dedra Glenn, 624 Windy Hill Drive, one year lease with a monthly payment

of $550.00.

105. Blondale Hughes, 625 New Castle Road, one year lease with a monthly

payment of $677.00.

106. Trista Mackins, 631 North Weldon Street, one year lease with a monthly

payment of $583.00.

107. Sheraina Lark, 654 New Castle Road, one year lease with a monthly payment

of $630.00.

108. Gwendolyn Moore, 660 New Castle Road, one year lease with a monthly

payment of $650.00.


                                        12
 Case 10-30942   Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                           Document      Page 13 of 91



109. Verlyn Crawford, 713 North Avon St., one year lease with a monthly payment

of $735.00.

110. Ernest & Mary Chambers, 715 Davie Street, one year lease with a monthly

payment of $695.00.

111. Ann Foxx, 716 Davie Street, one year lease with a monthly payment of

$599.00.

112. Keondra Curry, 716 North Chestnut St., one year lease with a monthly

payment of $725.00.

113. Brandon Myers, 719 Davie Street, one year lease with a monthly payment of

$600.00.

114. LaTea Tate, 720 Davie Street, one year lease with a monthly payment of

$520.00.

115. Latonya Payne, 721 E. Third Ave., one year lease with a monthly payment of

$593.00.

116. Raven Arthur, 724 Chestnut Street, one year lease with a monthly payment of

$735.00.

117. Lashea Carrier & JoAnn Sloan, 726 Davidson Street, one year lease with a

monthly payment of $715.00.

118. Sheri Wilson, 732 North Chestnut St., one year lease with a monthly payment

of $775.00.


                                       13
 Case 10-30942   Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                           Document      Page 14 of 91



119. Marilyn Wallace, 803 Robinson Road, one year lease with a monthly payment

of $675.00.

120. Chantea & Nathaniel Ellis, 805 Avon St., one year lease with a monthly

payment of $675.00.

121. Rebecca Springer, 811 Avon Street, one year lease with a monthly payment of

$725.00.

122. Candes Moore, 817 North Avon Street, one year lease with a monthly

payment of $729.00.

123. Sabrina McNeil, 825 North Avon Street, one year lease with a monthly

payment of $ 840.00.

124. Roger Thronton, 904 Neal Hawkins Road, one year lease with a monthly

payment of $520.00.

125. Silvestre Cruz, 906 Shannon Bradley Road, one year lease with a monthly

payment of $600.00.

126. Pauline Thompson, 907 East Harrison Ave., one year lease with a monthly

payment of $567.00.

127. Grace Rhodes, 912 Shannon Bradley Road, one year lease with a monthly

payment of $600.00.

128. Theresa Hall, Goble Street Duplex, one year lease with a monthly payment of

$550.00.


                                       14
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                            Document      Page 15 of 91



129. Victoria Adams, Goble Street Duplex, one year lease with a monthly payment

of $701.00.

130. Marcia Davis, Hill Street Duplex, one year lease with a monthly payment of

$683.00.

    THE PLAN OF      REORGANIZATION CONTEMPLATES      A
REORGANIZATION OF THE DEBTORS. IN ACCORDANCE WITH THE
PLAN THE DEBTORS INTEND TO SATISFY CREDITOR CLAIMS WITH
INCOME EARNED THROUGH BUSINESS OPERATIONS AND FUNDS
COLLECTED THROUGH AVOIDANCE ACTIONS.

                               II. DEFINITIONS

   1. “BANKRUTCY CODE” shall mean the United States Bankruptcy Code,
Title II of the United States Code, as enacted in 1978 and thereafter amended.
References to “§” herein shall refer to a section of the Bankruptcy Code, 11 U.S.C.
§101, et seq.

   2. “BANKRUPTCY RULES” shall mean the Federal Rules of Bankruptcy
Procedure, as amended from time to time, as applicable to Chapter 11 cases.

    3. “CLAIM” shall mean a duly listed or a timely filed claim which is allowed
in order to be paid by the Court.

   4. “CLASS” shall mean any one of the Classes of Claims or Interests
designated in Article III of the Plan.

   5. “CONFIRMATION DATE” shall mean the date of entry by the Court of an
order confirming the Plan at or after a hearing pursuant to 11 U.S.C. §1129.

  6. “CONFIRMTION HEARING” shall mean the hearing conducted by the
Court regarding the Plan at or after a hearing pursuant to 11 U.S.C. §1129.

   7. “CONFIRMATION ORDER” shall mean the order of the Court confirming
the Plan.

   8. “COURT” shall mean the United States Bankruptcy Court for the Western
                                        15
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20     Desc Main
                            Document      Page 16 of 91



District of North Carolina, including the United States Bankruptcy Judge presiding
in the Chapter 11 case of Debtors.

   9. “CREDITORS” shall mean all creditors of Debtors holding claims for
unsecured debts, liabilities, demand or claims of any character whatsoever.

   10.“DEBTORS” shall mean William W. Gillespie and Jimmie C. Gillespie.

   11.“DISBURSING AGENT” shall mean Robert Lewis, Jr. attorney for the
Debtors, or that person selected by the Court who shall perform the duties and have
the rights and obligations described herein.

   12.“AMENDED DISCLOSURE STATEMENT” shall mean the Disclosure
Statement describing this Plan prepared in accordance with §1125 and approved by
order of the Bankruptcy Court, to be distributed to the holders o claims whose
votes with respect to this Plan are to be solicited.

   13.“DISPUTED CLAIM” shall mean any claim (a) that is scheduled by the
Debtors as disputed, contingent or unliquidated, or (b) that is scheduled by the
Debtors, or proof of which has been filed with the Bankruptcy Court and with
respect to which a timely objection to allowance, in whole or in part, has been filed
and which objections have not been (i) withdrawn or settled, or (ii) determined by
a Final Order.

  14.“EFFECTIVE DATE” shall mean be that date on which the Order
Confirming the Plan becomes final and non-appealable.

  15.“FINAL DECREE” shall mean the order of this Court pursuant to
Bankruptcy Rule 3022 closing this case.

    16.“IMPAIRED” classes of creditors are those whose claims or interests are
altered by the Plan, or who will not receive under the Plan the allowed amount of
their claims in cash as of the “Effective Date” (as defined in the Plan).

   17.“PETITION DATE” shall mean the date upon which the Debtors filed the
voluntary Chapter 11 petition, to wit, April 6, 2010.

  18.“PLAN” shall mean this Plan of Reorganization in its present form or as it
may be amended or modified.


                                         16
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20     Desc Main
                            Document      Page 17 of 91



    19.“PRIORITY CLAIM” shall mean any claim to the extent entitled to priority
in payment under §507.

   20.“PRO-RATA” shall mean the amount of cash or property to be paid or
distributed to a claimant with respect to be Allowed Claim on a particular date, in
accordance with the ratio, as of such date, of the dollar amount of the Allowed
Claim of such person in the indicated class to the aggregate dollar amount of
Claims in the indicated class (including, in each such calculation, the full amount
of Disputed Claims in the class which have been asserted or are otherwise pending
and which have not yet been allowed or otherwise disposed of).

   21.“SECURED CREDITORS” shall mean all creditors who hold a lien,
security interest or any other encumbrances which have been properly perfected as
required by law with respect to property owned by Debtors, to the extent of the
value of the collateral.

   22.“SUBSTANTIAL CONSUMMATION” shall mean the time Reorganized
Debtors have commenced the distribution of initial Plan payments to all creditor
classes.

   23.“TAX CLAIM” shall mean any claim entitled to priority in treatment
pursuant to §507 (a)(8).

   24.“GENERAL UNSECURED CLAIM” shall mean any claim, whether or not
liquated or contingent, other than a tax claim, administrative claim, or secured
claim.


               III. CLASSIFICATION AND TREATMENT OF
                        CLASSES OF CREDITORS


       The Debtors classify the following classes of claims, indicating whether said
class is impaired or unimpaired, and proposes the following treatment:


      A.    Class I – Administrative Costs:

     (1) Classification. Class I consists of claims for any cost or expense of
administration pursuant to Sections 503, 506, and 507 of the Bankruptcy Code.
                                         17
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20     Desc Main
                            Document      Page 18 of 91



The following claims of professionals will be paid subject to Court approval:

Verna Carol Bash-Flower, Attorney for the Debtors; Amount to be determined by
the Court

The Lewis Law Firm, P. A., Attorney for Debtors; Amount to be determined by the
Court

McCannon, Rogers, Driscoll & Associates L.L.P; Accountant for Debtors; Amount
to be determined by the Court.

      (2)    Impairment. This class will be impaired.

       (3) Treatment. Administrative costs and expenses approved by the Court
shall be paid in cash and in full, including accruals to date of payment, within ten
(10) days from the Effective Date, or as otherwise agreed by the parties.
       In the event that funds are not available to pay such costs and expenses
within ten days of the Effective Date, then each holder of such a claim will receive
monthly payments from the Debtors’ cash flow until paid in full. Such claims
remaining unpaid ten (10) days following the Effective Date shall accrue interest at
a rate of eight percent per annum.


      B.     Class II – Tax Claims:

       (1) Classification. Class II consists of claims against the Debtors for
income taxes, withholding taxes, unemployment taxes, county taxes, excise taxes
and/or any and all other taxes levied or entitled to be levied against the Debtors by
the Internal Revenue Service, Employment Security Commission, N.C.
Department of Revenue, and all other taxing authorities, plus interest as allowed by
law. The Debtors are aware of the following claims in this class:

      Internal Revenue Service         Claim        #6     $ 0.00


      (2)    Impairment.         This class will be impaired.

      (3)    Treatment. The Debtors propose the following treatment:



                                         18
 Case 10-30942      Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20     Desc Main
                               Document      Page 19 of 91



         Cost and expenses of administration, if any, shall be paid in cash and in
     full including accruals to date of payment within thirty (30) days from the
     Effective Date. The Debtors do not expect any such claims to be filed.

       Unsecured priority tax claims described in Section 507(a)(8) of the
Bankruptcy Code shall be paid the full amount of their allowed claim in regular
monthly installment payments in cash or cash equivalent over a period not
exceeding five (5) years from the date of the petition . In the event any claims
exist in this class that have not been paid, installment payments shall commence on
the 12th full month following the Effective Date, and shall include interest at
statutory rate as of the Effective Date, currently four percent (4%) per annum, from
the Effective Date. The Debtors do not expect any such claims to be filed.

        Unsecured general tax claims, if any, will be treated in Class XXVI herein.

       Secured claims shall retain their interest in property of the Debtors. The
taxing authority shall retain its lien and secured status as to the underlying secured
tax liability, plus accruing interest at the statutory rate of four percent (4%) per
annum from the date of the petition until it is paid in full.


C.      Class III – Ad Valorem Taxes:

        (1) Classification.              Class III consists of taxes owed by the
     Debtors to any city, county, or other municipality or taxing entity entitled to tax
     the property of the Debtors based upon the value of the property assessed. The
     Debtors are aware of the following claim in this class:


     Gastonia County Tax Office                 Claim # 75          $29,047.71
     Gastonia County Tax Office                                     $64,543.57
                                                TOTAL               $93,591.28

        (2)   Impairment. This class will be impaired.

      (3) Treatment. The Debtors propose to pay claims in this class with
monthly payments for over a period of five (5) years from the petition date.
Monthly payments shall commence on the fifteenth day of the first full month
following the Effective Date, and shall include interest at a rate of four (4%)


                                           19
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20     Desc Main
                            Document      Page 20 of 91



percent per annum. For feasibility purposes, the Debtor estimates that monthly
payments will be $2,113.20.


      D.     Class IV– Alliance Bank:

      (1) Classification.             Class IV consist of eight obligations with
Alliance Bank more particularly described as follows:

    (a)      Upon information and belief on or about November 15, 2008 the
Debtors entered into a Promissory Note with Alliance Bank (“Alliance”) in the
original principal amount of $31,624.00. (“Alliance Note # 1”) The Alliance Note
# 1 was secured by a Real Estate Deed of Trust (with Future Advance Clause)
dated September 23, 2005, taking an Assignment of Leases and Rents as well as a
security interest in among other things, rents, issues and profits, and all proceeds
thereof in any form. The Deed of Trust is secured by real property located at 508
E. Robinson Street Gastonia, North Carolina. Alliance filed proof of claim # 35 in
the amount of $28,468.34.

   (b) Upon information and belief, on or about October 28, 2005, the Debtors
entered into a Promissory Note with Alliance Bank in the original principal amount
of $56,000.00. (“Alliance Note # 2”) The Alliance Note # 2 was secured by a
North Carolina Deed of Trust, taking an Assignment of Rents and Profits as well as
a security interest in among other things, such as rents and profits and all proceeds
thereof in any form. The Deed of Trust is secured by real property located at 310
Robinson Clemmer Road, Gastonia, North Carolina. Alliance filed proof of claim
# 36 in the amount of $48,509.91.

    (c) Upon information and belief, on or about February 18, 2005, the Debtors
entered into a Promissory Note with Alliance Bank in the original principal amount
of $67,500.00. (“Alliance Note #3”) The Alliance Note # 3 was secured by a Real
Estate Deed of Trust, (With Future Advance Clause) taking an Assignment of
Leases and Rents as well as a security interest in among other things, rents, issues
and profits, and all proceeds thereof in any form. The Deed of Trust is secured by
property located at 1003 East Harrison Avenue, Gastonia, North Carolina. Alliance
filed proof of claim #32 in the amount of $42,145.79.

   (d) Upon information and belief, on or about January 5, 2005, the Debtors
entered into a Promissory Note with Alliance Bank in the original principal amount
of $48,000.00. (“Alliance Note # 4”) The Alliance Note # 4 was secured by a Real
                                         20
 Case 10-30942    Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20     Desc Main
                             Document      Page 21 of 91



Estate Deed of Trust, (With Future Advance Clause) taking a security interest in
property located at 61 Fox Street, Gastonia, North Carolina. Alliance filed proof of
claim # 31 in the amount of $43,123.33.

   (e) Upon information and belief, on or about October 18, 2005, the Debtors
entered into a Promissory Note with Alliance Bank in the original principal amount
of $52,000.00. (“Alliance Note # 5”) The Alliance Note # 5 was secured by a
North Carolina Deed of Trust, taking an Assignment of Rents and Profits as well as
a security interest in among other things, rents and profits, and all proceeds thereof
in any form. The Deed of Trust is secured by property located at 631N. Weldon
Street, Gastonia, North Carolina. Alliance filed proof of claim # 34 in the amount
of $44,747.83

    (f) Upon information and belief, on or about February 16, 2005, the Debtors
entered into a Promissory Note with Alliance Bank in the original principal amount
of $49,060.00. (“Alliance Note # 6”) The Alliance Note # 6 was secured by a Real
Estate Deed of Trust (With Future Advance Clause) taking an Assignment of
Leases and Rents as well as a security interest in among other things, rents, issues
and profits, , and all proceeds thereof in any form. The Deed of Trust is secured by
property located at 306 Midway, Gastonia, North Carolina. Alliance filed proof of
claim # 33 in the amount of $43,096.90.

    (g) Upon information and belief, on or about December 9, 2004 the Debtors
entered into a Promissory Note and Real Estate Deed of Trust (With Future
Advance Clause), with Alliance Bank in the original principal amount of
$52,000.00. (“Alliance Note # 7”) The Alliance Note # 7 was secured by a Real
Estate Deed of Trust (With Future Advance Clause). The Deed of Trust is secured
by property located at 2143 Hartford Drive, Gastonia, North Carolina. Alliance
filed proof of claim # 30 in the amount of $47,240.76.

   (h) Upon information and belief, on or about September 21, 2004, the Debtors
entered into a Promissory Note and Real Estate Deed of Trust (With Future
Advance Clause), with Alliance Bank in the original principal amount of
$149,000.00. (“Alliance Note # 8”) The Alliance Note # 8 was secured by a Real
Estate Deed of Trust (With Future Advance Clause). The Deed of Trust is secured
by property located at 108 Light House Church Lane Gastonia, North Carolina.
Alliance filed proof of claim # 40 in the amount of $123,322.93.

      (2)    Impairment. This class will be impaired.


                                         21
 Case 10-30942     Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20       Desc Main
                             Document      Page 22 of 91



      (3)    Treatment.

   (a) Note #1. This obligation shall be treated as a fully secured obligation of
the Debtors in an amount equal to the lesser of: (1) the value of the property which
secured the debt; or (2) (a) all outstanding principal and interest due on the petition
date; plus (b) any, interest, costs and expenses approved by the Court pursuant to
Section 506(b); less (c) any post-petition payments. For feasibility purposes, the
Debtors estimate this claim to be the sum of $28,282.54. The Debtors propose to
pay the loan in 120 payments. The Debtors will make 119 payments of $145.00
commencing on the first day of the first full month following the Effective Date.
The Debtors will make a single “balloon payment” of the entire unpaid balance of
Principal and interest which will be due on the 120 th full month following the
Effective Date. Interest will accrue on the unpaid Principal balance of the loan at
the rate of five (5%) percent. Alliance shall retain its lien with the priority thereof,
as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its claim is paid in full.


   (b) Note # 2. This obligation shall be treated as a secured obligation of the
Debtors in an amount equal to the lesser of: (1) the value of the property which
secured the debt; or (2) (a) all outstanding principal and interest due on the petition
date; plus (b) any, interest, costs and expenses approved by the Court pursuant to
Section 506(b); less (c) any post-petition payments. For feasibility purposes, the
Debtors estimate this claim to be the sum of $46,775.75 The Debtors propose to
pay the loan in 120 payments. The Debtors will make 119 payments of $255.00
commencing on the first day of the first full month following the effective date.
The Debtors will make a single “balloon payment” of the entire unpaid balance of
Principal and interest which will be due on the 120 th full month following the
Effective Date. Interest will accrue on the unpaid Principal balance of the loan at
the rate of five (5%) percent. Alliance shall retain its lien with the priority thereof,
as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its claim is paid in full.

   (c) Note # 3. This obligation shall be treated as a secured obligation of the
Debtors in an amount equal to the lesser of: (1) the value of the property which
secured the debt; or (2) (a) all outstanding principal and interest due on the petition
date; plus (b) any, interest, costs and expenses approved by the Court pursuant to
Section 506(b); less (c) any post-petition payments. For feasibility purposes, the
Debtors estimate this claim to be the sum of $40,767.98 The Debtors propose to
pay the loan in 120 payments. The Debtors will make 119 payments of $220.00
                                          22
 Case 10-30942     Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20       Desc Main
                             Document      Page 23 of 91



commencing on the first full month following the effective date. The Debtors will
make a single “balloon payment” of the entire unpaid balance of Principal and
interest which will be due on the 120th full month following the Effective Date.
Interest will accrue on the unpaid Principal balance of the loan at the rate of five
(5%) percent. Alliance shall retain its lien with the priority thereof, as existed on
the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its
claim is paid in full.

    (d)       Note # 4. This obligation shall be treated as a secured obligation of
the Debtors in an amount equal to the lesser of: (1) the value of the property which
secured the debt; or (2) (a) all outstanding principal and interest due on the petition
date; plus (b) any, interest, costs and expenses approved by the Court pursuant to
Section 506(b); less (c) any post-petition payments. For feasibility purposes, the
Debtors estimate this claim to be the sum of $40,253.02. The Debtors propose to
pay the loan in 120 payments. The Debtors will make 119 payments of $220.00
commencing on the first day of the first full month following the Effective Date.
The Debtors will make a single “balloon payment” of the entire unpaid balance of
Principal and interest which will be due on the 120 th full month following the
Effective Date. Interest will accrue on the unpaid Principal balance of the loan at
the rate of five (5%) percent. Alliance shall retain its lien with the priority thereof,
as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its claim is paid in full.

    (e)       Note # 5. This obligation shall be treated as a secured obligation of
the Debtors in an amount equal to the lesser of: (1) the value of the property which
secured the debt; or (2) (a) all outstanding principal and interest due on the petition
date; plus (b) any, interest, costs and expenses approved by the Court pursuant to
Section 506(b); less (c) any post-petition payments. For feasibility purposes, the
Debtors estimate this claim to be the sum of $43,217.59. The Debtors propose to
pay the loan in 120 payments. The Debtors will make 119 payments of 235.00
commencing on the first day of the first full month following the Effective Date.
The Debtors will make a single “balloon payment” of the entire unpaid balance of
Principal and interest which will be due on the 120 th full month following the
Effective Date. Interest will accrue on the unpaid Principal balance of the loan at
the rate of five (5%) percent. Alliance shall retain its lien with the priority thereof,
as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its claim is paid in full.




                                          23
 Case 10-30942     Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20       Desc Main
                             Document      Page 24 of 91



   (f) Note # 6. This obligation shall be treated as a secured obligation of the
Debtors in an amount equal to the lesser of: (1) the value of the property which
secured the debt; or (2) (a) all outstanding principal and interest due on the petition
date; plus (b) any, interest, costs and expenses approved by the Court pursuant to
Section 506(b); less (c) any post-petition payments. For feasibility purposes, the
Debtors estimate this claim to be the sum of $41,671.59. The Debtors propose to
pay the loan in 120 payments. The Debtors will make 119 payments of $225.00
commencing on the first day of the first full month following the Effective Date.
The Debtors will make a single “balloon payment” of the entire unpaid balance of
Principal and interest which will be due on the 120th full month following the
Effective Date. Interest will accrue on the unpaid Principal balance of the loan at
the rate of five (5%) percent. Alliance shall retain its lien with the priority thereof,
as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its claim is paid in full.


   (g) Note # 7. This obligation shall be treated as a secured obligation of the
Debtors in an amount equal to the lesser of: (1) the value of the property which
secured the debt; or (2) (a) all outstanding principal and interest due on the petition
date; plus (b) any, interest, costs and expenses approved by the Court pursuant to
Section 506(b); less (c) any post-petition payments. For feasibility purposes, the
Debtors estimate this claim to be the sum of $44,371.30. The Debtors propose to
pay the loan in 120 payments. The Debtors will make 119 payments of 240.00
commencing on the first day of the first full month following the Effective Date.
The Debtors will make a single “balloon payment” of the entire unpaid balance of
Principal and interest which will be due on the 120 th full month following the
Effective Date. Interest will accrue on the unpaid Principal balance of the loan at
the rate of five (5%) percent. Alliance shall retain its lien with the priority thereof,
as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its claim is paid in full.

   (h) Note # 8. This obligation is unimpaired, as such, it is fully secured and
will be paid in full pursuant to the original contractual agreement.


      E.     Class V – American Home Mortgage Servicing, Inc. (“AHM”):

      1)    Classification.     Class V consists of ten obligations with AHM
more particularly described as follows:


                                          24
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                            Document      Page 25 of 91



   (a) Upon information and belief on or about September 17, 2003, the Debtors
entered into a Promissory Note with Option One Mortgage Corporation which was
transferred and assigned to HSBC Bank USA, National Association, as Trustee for
ACE Securities Corp in the original principal amount of $69,600.00. (“Note#1”)
Note # 1 was secured by a Deed of Trust, taking an Assignment of Rents as well as
a security interest in among other things, rents, and all proceeds thereof in any
form. The Deed of Trust is secured by property located at 2348 Edwin Street,
Gastonia, North Carolina. The Debtors estimate AHM’s claim to be $75,825.94

   (b) Upon information and belief on or about September 18, 2003, the Debtors
entered into a Promissory Note with Option One Mortgage Corporation in the
original principal amount of $69,600.00 (“Note#2”). Note # 2 was secured by a
Deed of Trust and Security Agreement, taking an Assignment of Rents as well as a
security interest in among other things, rents, profits and all proceeds thereof in
any form. Said Note and Deed of Trust have been transferred and assigned to
HSBC Bank USA, National Association, as Trustee for ACE Securities Corp.
Home Equity Loan Trust, Series 2003-OP1, Asset Backed Pass-Through
Certificates. The Deed of Trust is secured by property located at 2354 Edwin
Street, Gastonia, North Carolina. The Debtors estimate AHM’s claim to be
$75,157.01.


   (c) Upon information and belief on or about October 15, 2004, the Debtors
entered into a Promissory Note with American Home Mortgage Servicing, Inc.,
(“American Home”) in the original principal amount of $95,139.00. (“Note # 3”)
Note #3 was secured by a Deed of Trust and Security Agreement, taking an
Assignment of Rents as well as a security interest in among other things, rents,
profits and all proceeds thereof in any form. The Deed of Trust is secured by
property located at 2534 Myers Street, Gastonia, North Carolina. Said Note and
Deed of Trust have been transferred and assigned to the Bank of New York Mellon
Corporation, as indenture Trustee for American Home Mortgage Investment Trust
2004-4. American Home filed proof of claim # 62 in the amount of $72,929.48

   (d) Upon information and belief on or about October 18, 2004, the Debtors
entered into a Promissory Note with American Home in the original principal
amount of $71,200.00 (“Note#4”). Note #4 was secured by a Deed of Trust and
Security Agreement, taking an Assignment of Rents as well as a security interest in
among other things, rents, profits and all proceeds thereof in any form. Note # 4
was transferred to The Bank of New York Mellon Corporation, as Indenture
Trustee for American Home Mortgage Investment Trust 2004-4 by and through
                                        25
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20    Desc Main
                            Document      Page 26 of 91



American Home Mortgage Services, Inc. Said Deed of Trust is secured by property
located at 2538 Myers Street, Gastonia, North Carolina. American Home filed
proof of claim # 64 in the amount of $77,866.97.

       (e) Upon information and belief on or April 18, 2005, the Debtors entered
into a Promissory Note with American Home in the original principal amount of
$54,400.00, (“Note#5”) Note #5 was secured by a Deed of Trust and Security
Agreement, taking an Assignment of Rents as well as a security interest in among
other things, rents, profits and all proceeds thereof in any form. Note # 5 was
transferred to Deutsche Bank National Trust Company, as Indenture Trustee for
American Home Mortgage Investment Trust 2005-2 by and through American
Home Mortgage Servicing, Inc. The Deed of Trust is secured by property located
at 60 Fox Street, Gastonia, North Carolina. American Home filed proof of claim #
63 in the amount of $77,619.56


    (f) Upon information and belief on or about December 4, 2004, the Debtors
entered into a Promissory Note with American Home Mortgage in the original
principal amount of $62,250.00. (“Note#6”) Note #6 was secured by a Deed of
Trust and Security Agreement, taking an Assignment of Rents as well as a security
interest in among other things, rents, profits and all proceeds thereof in any form.
The Deed of Trust is secured by property located at 62 Fox Street, Gastonia, North
Carolina. Deutsche Bank National trust filed proof of claim # 68 on behalf of
American Home Mortgage Servicing in the amount of $55,720.91.


      (g) Upon information and belief on or about October 15, 2004, the Debtors
entered into a Promissory Note with American Home Mortgage in the original
principal amount of $69,750.00. (“Note#7”) Note # 7 was secured by a Deed of
Trust with a security interest in property located at 825 N. Avon Street, Gastonia,
North Carolina. The Debtors signed a rider to the Deed of Trust granting American
Home Mortgage Servicing, Inc., a lien on the rental proceeds derived from the real
property. Said Note and Deed of Trust have been transferred and assigned to The
Bank of Mellon Corporation, as Indenture Trustee for American Home Mortgage
Investment Trust 2004-4. Debtors value AHM’s claim at $76,376.87.

      (h) Upon information and belief on or about October 18, 2004, the Debtors
entered into a Note with American Home Mortgage, in the original principal
amount of $71,200.00 (“Note # 8”). Note #8 was transferred to The Bank of New
York Mellon Corporation, as Indenture Trustee for American Home Mortgage
                                         26
 Case 10-30942   Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                            Document      Page 27 of 91



Investment Trust 2004-4 by and through American Home Mortgage Services, Inc.
Note # 8 was secured by a Deed of Trust/Security Instrument, with a security
interest in property located at 2619 Goble Street, Gastonia, North Carolina. The
Debtors estimate AHM’s claim to be $67,912.72.


      (i) Upon information and belief on or about October 18, 2004, the Debtors
entered into a Promissory Note with Option One Mortgage Corporation in the
original principal amount of $111,350.00. (“Note # 9”) Note #9 was secured by a
Deed of Trust/Security Instrument, with a security interest in property located at
2700 Goble A&B, Gastonia, North Carolina. Said Note and Deed of Trust have
been transferred and assigned to Wells Fargo Bank, N.A., as Trustee for Asset
Backed Securities Corporation Home Equity Loan Trust 2004-4HE3, Asset
Backed Passed-Through Certificates, Series 2004-HE3. Debtors estimate AHM’s
claim to be $118,903.24.

      (j) Upon information and belief on or about April 18, 2005, the Debtors
entered into a Promissory Note the original principal amount of $48,000.00 with
Deutsche Bank National Trust Company, as Indenture Trustee for American Home
Mortgage Investment Trust 2005-2 by and through American Home Mortgage
Servicing, Inc. secured by the Deed of Trust. (“Note #10”) Note #10 was secured
by a Deed of Trust, with a security interest in property located at 206 Winget
Circle, Gastonia, North Carolina. American Home filed proof of claim # 65 in the
amount of $52,616.57.

      (2)   Impairment. This class will be impaired.

      (3)   Treatment: The Debtors propose the following treatment:

    (a) Note # 1. The tax value of the property is $80,781.00. The Plan shall
value the property at $80,781.00. AHM’s claim shall be treated as fully secured.
AHM’s attorney’s fees and costs of $1,164.00 shall be added to the payoff of the
loan. AHM shall modify the loan to a fixed interest rate of five percent (5%) with
principal and interest payments of $488.42. The loan shall mature on October 1,
2033. The monthly payments including principal and interest and escrow are
estimated to be approximately $596.23. The Debtors shall make monthly payments
of $596.23 beginning on the first of the month following confirmation and monthly
thereafter until the loan is paid in full. Except as specifically stated in the
confirmation order, all other terms of the Note and Deed of Trust shall control.


                                        27
 Case 10-30942     Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20      Desc Main
                             Document      Page 28 of 91



    (b) Note # 2. The tax value of the property is $80,781.00. The Plan shall
value the property at $80,781.00. AHM’s claim shall be treated as fully secured.
AHM’s attorney’s fees and costs of $950.00 shall be added to the payoff of the
loan. AHM shall modify the loan to a fixed interest rate of five percent (5%) with
principal and interest payments of $488.42. The loan shall mature on October 1,
2033. The monthly payments including principal and interest and escrow are
estimated to be approximately $596.23. The Debtors shall make monthly payments
of $596.23 beginning on the first of the month following confirmation and monthly
thereafter until the loan is paid in full. Except as specifically stated in the
confirmation order, all other terms of the Note and Deed of Trust shall control.

    (c) Note # 3. The tax value of the property is $95,139.00. The Plan shall
value the property at $95,139.00. AHM’s claim shall be treated as fully secured.
AHM’s attorney’s fees and costs of $1,250.00 shall be added to the payoff of the
loan. AHM shall modify the loan to a fixed interest rate of five percent (5%) with
principal and interest payments of $510.73. The loan shall mature on October 1,
2033. The monthly payments including principal and interest and escrow are
estimated to be approximately $597.46. The Debtors shall make monthly payments
of $597.46 beginning on the first of the month following confirmation and monthly
thereafter until the loan is paid in full. Except as specifically stated in the
confirmation order, all other terms of the Note and Deed of Trust shall control.


   (d) Note # 4. This obligation shall be treated as a fully secured obligation of
the Debtors in an amount equal to the lesser of: (1) the value of the property which
secured the debt; or (2) (a) all outstanding principal and interest due on the petition
date; plus (b) any, interest, costs and expenses approved by the Court pursuant to
Section 506(b); less (c) any post-petition payments. For feasibility purposes, the
Debtors value the property at $40,500.00. The Debtors propose to amortize Note #
4 over a thirty (30) year period with interest accruing at a rate of four percent (4%)
per annum. AHM shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its
claim is paid in full. . The Debtors shall make monthly payments of $193.35
beginning on the first of the month following confirmation and monthly thereafter
until the claim is paid in full. The balance of AHM’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.

   (e) Note # 5. This obligation shall be treated as a fully secured obligation of
the Debtors in an amount equal to the lesser of: (1) the value of the property which
secured the debt; or (2) (a) all outstanding principal and interest due on the petition
                                          28
 Case 10-30942     Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20       Desc Main
                              Document      Page 29 of 91



date; plus (b) any, interest, costs and expenses approved by the Court pursuant to
Section 506(b); less (c) any post-petition payments. For feasibility purposes, the
Debtors value the property at $33,500.00. The Debtors propose to amortize Note #
5 over a thirty (30) year period with interest accruing at a rate of four percent (4%)
per annum. AHM shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its
claim is paid in full. The Debtors shall make monthly payments of $159.93
beginning on the first of the month following confirmation and monthly thereafter
until the claim is paid in full. The balance of AHM’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.

    (f) Note # 6. This obligation shall be treated as a fully secured obligation of
the Debtors in an amount equal to the lesser of: (1) the value of the property which
secured the debt; or (2) (a) all outstanding principal and interest due on the petition
date; plus (b) any, interest, costs and expenses approved by the Court pursuant to
Section 506(b); less (c) any post-petition payments. For feasibility purposes, the
Debtors value the property at $33,500.00. The Debtors propose to amortize Note #
6 over a thirty (30) year period with interest accruing at a rate of four percent (4%)
per annum. AHM shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its
claim is paid in full. The Debtors shall make monthly payments of $159.93
beginning on the first of the month following confirmation and monthly thereafter
until the claim is paid in full. The balance of AHM’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.

     (g) Note # 7. The tax value of the property is $95,017.00. The Plan shall
value the property at $95,017.00. AHM’s claim shall be treated as fully secured.
AHM’s attorney’s fees and costs of $1,250.00 shall be added to the payoff of the
loan. AHM shall modify the loan to a fixed interest rate of five percent (5%) with
principal and interest payments of $510.07 over a new thirty (30) year period. The
monthly payments including principal and interest and escrow are estimated to be
approximately $628.63. The Debtors shall make monthly payments of $628.63
beginning on the first of the month following confirmation and monthly thereafter
until the loan is paid in full. Except as specifically stated in this confirmation order,
all other terms of the Note and Deed of Trust shall control.

   (h) Note # 8. This obligation shall be treated as a fully secured obligation of
the Debtors in an amount equal to the lesser of: (1) the value of the property which
secured the debt; or (2) (a) all outstanding principal and interest due on the petition
date; plus (b) any, interest, costs and expenses approved by the Court pursuant to
                                           29
 Case 10-30942    Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20      Desc Main
                             Document      Page 30 of 91



Section 506(b); less (c) any post-petition payments. For feasibility purposes, the
Debtors value the property at $42,000.00. The Debtors propose to amortize Note #
8 over a thirty (30) year period with interest accruing at a rate of four percent (4%)
per annum. AHM shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its
claim is paid in full. The Debtors shall make monthly payments of $200.51
beginning on the first of the month following confirmation and monthly thereafter
until the claim is paid in full. The balance of AHM’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.


    (i) Note # 9.     The tax value of the property is $116,784.00. AHM’s claim
shall be bifurcated. AHM shall have an allowed secured claim in the amount of
$116,784.00 upon the entry of the confirmation order. The remaining balance of
AHM’s claim shall be treated as unsecured. Plan shall value the property at
$116,784.00. AHM’s claim shall be treated as fully secured. AHM’s attorney’s
fees and costs of $1,000.00 are approved. AHM shall modify the loan to a fixed
interest rate of five percent (5%) with principal and interest payments of $699.61.
The loan shall mature on March 1, 2024. The monthly payments including
principal and interest and escrow are estimated to be approximately $826.00. The
Debtors shall make monthly payments of $826.00 beginning on the first of the
month following confirmation and monthly thereafter until the loan is paid in full.
Except as specifically stated in this confirmation order, all other terms of the Note
and Deed of Trust shall control.

    J) Note # 10. This obligation shall be treated as a partially secured obligation
of the Debtors in an amount equal to the lesser of: (1) the value of the property
which secured the debt; or (2) (a) all outstanding principal and interest due on the
petition date; plus (b) any, interest, costs and expenses approved by the Court
pursuant to Section 506(b); less (c) any post-petition payments. For feasibility
purposes, the Debtors value the property at $39,000.00. The Debtors propose to
amortize Note # 10 over a thirty (30) year period with interest accruing at a rate of
five percent (5%) per annum. AHM’s cost and attorney’s fees are approved and
AHM shall retain its lien with the priority thereof, as existed on the Petition Date
pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its claim is paid in
full. The Debtors shall make monthly payments of $209.35 beginning on the first
of the month following confirmation and monthly thereafter until the claim is paid
in full. The balance of AHM’s claim shall be treated as a general unsecured claim
in Class XXVI as described below.


                                          30
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20     Desc Main
                            Document      Page 31 of 91




F.    Class VI – BAC:

   1. Classifications:     Class VI consists of four obligations with BAC more
particularly described as follows:

    (a) Upon information and belief on or about November 30, 1999, the Debtors
entered into a Deed of Trust and Security Instrument with America’s Wholesale
Lender in the original principal amount of $67,200.00. (“Note#1”) Note # 1 was
transferred to BAC Home Loan Servicing, LP fka Countrywide Home Loan
(“BAC”). Note # 1 was secured by a Deed of Trust, taking a security interest in
rents and profits, or proceeds paid thereof. The Deed of Trust is secured by
property located at 620 Highland Street, Gastonia, North Carolina. BAC filed
proof of claim # 69 in the amount of $40,421.14.

   (b) Upon information and belief on or about November 30,1999, the Debtors
entered into a Deed of Trust and Security Instrument with America’s Wholesale
Lender in the original principal amount of $45,750.00 (“Note#2”) Note # 2 was
secured by a Deed of Trust, taking a security interest in rents and profits, and all
proceeds thereof in any form. Said Note was transferred to BAC. The Deed of
Trust is secured by property located at 1112 West Davidson Street, Gastonia,
North Carolina. BAC filed proof of claim # 29 in the amount of $42,576.26.

    (c) Upon information and belief on or about November 30,1999, the Debtors
entered into a Deed of Trust and Security Instrument with RBC Mortgage
Company in the original principal amount of $56,250.00 (“Note#3”) Note # 3 was
secured by a Deed of Trust, taking a security interest in rents and profits, and all
proceeds thereof in any form. Said Note was transferred to BAC. The Deed of
Trust is secured by property located at 1114 North Davidson Street, Gastonia,
North Carolina. BAC filed proof of claim # 28 in the amount of $41,369.94
    .
     (d)      Upon information and belief on or about August 17, 2004, the Debtors
entered into a Deed of Trust and Security Instrument with RBC Mortgage
Company in the original principal amount of $67,200.00. (“Note#4”) Note # 4 was
transferred to BAC. Note # 2 was secured by a Deed of Trust, taking a security
interest in rents and profits, or proceeds paid thereof. The Deed of Trust is secured
by property located at 715 Davie Street, Gastonia, North Carolina. BAC filed
proof of claim # 26 in the amount of $70,806.12.



                                         31
 Case 10-30942     Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20      Desc Main
                              Document      Page 32 of 91



      (2)    Impairment. This class will be impaired.

      (3)    Treatment. The Debtors propose the following treatment:

       (a) Note # 1. BAC’s claim shall be treated as partially secured in an amount
equal to the value of the collateral. Wells Fargo shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
pay monthly payments to BAC, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $30,000.00. Monthly payments shall be in the
amount of $161.05 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of BAC’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (b) Note # 2.BAC’s claim shall be treated as partially secured in an amount
equal to the value of the collateral. BAC shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
pay monthly payments to BAC, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $33,000.00. Monthly payments shall be in the
amount of $177.15 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of BAC’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (c) Note # 3. BAC’s claim shall be treated as partially secured in an amount
equal to the value of the collateral. BAC shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
pay monthly payments to BAC, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $33,000.00 Monthly payments shall be in the
amount of $177.15 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of BAC’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (d) Note # 4.BAC’s claim shall be treated as partially secured in an amount
equal to the value of the collateral. BAC shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
                                           32
 Case 10-30942    Doc 463     Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                              Document      Page 33 of 91



Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
pay monthly payments to BAC, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $42,000.00. Monthly payments shall be in the
amount of $225.47 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of BAC’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

G.    Class VII – Brown Bark III, L.P.:

      (1)   Classification.      Class VII consists of the following secured claim:

       (a) Upon information and belief on or about May 18, 2007, the male Debtor
entered into a Promissory Note and Deed of Trust with Wachovia Bank, National
Association (“Wachovia”) in the original principal amount of $40,000.00 (“Note #
1”) Note # 1 was assigned on September 11, 2008, by Wachovia, successor by
merger to SouthTrust Bank, to Brown Bark III, L.P. On or about January 15, 2009,
a judgment was entered against the male-Debtor in the amount of $34,129.46 with
interest at 8.0 % per annum.

      (2)   Impairment. This class will be impaired.

      (3) Treatment. This obligation shall be treated as an unsecured
obligation of the male Debtor and shall be treated as a general unsecured claim in
Class XXVI as described below

H.    Class VIII - ROBERT BROWN :

      (1)   Classification.      Class VIII consists of the following secured claim:

      (a) Upon information and belief on or about May 18, 2007, the male Debtor
entered into a Promissory Note and Deed of Trust with Wachovia Bank, National
Association (“Wachovia”) in the original principal amount of $40,000.00 (“Note #
1”) Note # 1 was assigned by Wachovia to Robert Brown.

      (2)   Impairment. This class will be impaired.

     (3) Treatment. This obligation shall be treated as a secured obligation of
the male Debtor. Robert Brown shall retain its lien pursuant to Section
1129(b)(2)(A)(i)(1) of the Bankruptcy Code until such obligation is paid in full.
                                         33
 Case 10-30942    Doc 463     Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                              Document      Page 34 of 91



The male Debtors propose to amortize this obligation over a thirty (30) year
period, with interest accruing at a rate of four percent (4) percent per annum.
Monthly payments shall commence on the 15th day of the first full month following
the Effective Date. For feasibility purposes, the male Debtor estimates that
monthly payments shall be in the amount of $162.94


I.    Class IX – Capital Bank:

      (1)   Classification.      Class IX consists of the following four secured

claims:

       (a) Upon information and belief on or about January 30, 2004, the Debtors
entered into a Promissory Note and Deed of Trust with Spring Mortgage
Corporation in the original principal amount of $510.000.00 (“Note#1”) Note # 1
was secured by a Deed of Trust, taking a security interest in rents and profits, and
all proceeds thereof in any form. Said Note and Deed of Trust were transferred to
Capital Mortgage Services of Texas (“Capital”). The Deed of Trust is secured by
the following properties: 1816 Street Middle, 1820 Middle Street, 1824 Middle
Street, 1828 Middle Street, 1832 Middle Street, 1836 Middle Street, 1840 Middle
Street and 1844 Middle Street, all located in Gastonia, North Carolina. The
Debtors estimate Capital’s claim to be $516,877.12.

       (b) Upon information and belief on or about September 27, 2000, the
Debtors entered into a Promissory Note and Deed of Trust with Spring Mortgage
Corporation in the original principal amount of $136,875.00 (“Note#2”) Note # 2
was secured by a Deed of Trust, taking a security interest in rents and profits, and
all proceeds thereof in any form. Said Note and Deed of Trust were transferred to
Capital Mortgage Services of Texas (“Capital”). The Deed of Trust is secured by
the following properties: 2000 Foxworth Lane, 2218 Lyon Street, and 3033
Crawford Street, all located in Gastonia, North Carolina. The Debtors estimate
Capital’s claim to be $127,319.30
       .
        (c) Upon information and belief on or about September 27, 2000, the
Debtors entered into a Promissory Note and Deed of Trust with Spring Mortgage
Corporation in the original principal amount of $136,875.00 (“Note#3”) Note # 3
was secured by a Deed of Trust, taking a security interest in rents and profits, and
all proceeds thereof in any form. Said Note and Deed of Trust were transferred to
Capital Mortgage Services of Texas (“Capital”). The Deed of Trust is secured by
                                         34
 Case 10-30942     Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20      Desc Main
                              Document      Page 35 of 91



the following properties: 108 Briarwood Drive, 1033 Park View Drive, and 308
Robinson Clemmer Street, all located in Gastonia, North Carolina. The Debtors
estimate Capital’s claim to be $138,372.33

        (d) Upon information and belief on or about June 6, 2000, the Debtors
entered into a Promissory Note and Deed of Trust with Spring Mortgage
Corporation in the original principal amount of $134,250.00 (“Note#4”) Note # 4
was secured by a Deed of Trust, taking a security interest in rents and profits, and
all proceeds thereof in any form. Said Note and Deed of Trust were transferred to
Capital Mortgage Services of Texas (“Capital”). The Deed of Trust is secured by
the following properties: 2833 Crawford Avenue and 3039 Crawford Avenue, all
located in Gastonia, North Carolina. The Debtors estimate Capital’s claim to be
$74,708.04


      (2)    Impairment. This class will be impaired.

      (3)    Treatment. The Debtors propose the following treatment:

       (a) Capital shall be treated as fully secured in an amount equal to the value
of the collateral. Capital shall retain its lien with the priority thereof, as existed on
the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its
allowed secured claim is paid in full. The Debtors shall make monthly payments to
Capital, with interest at the rate of five percent (5%) per annum amortized over a
period of thirty (30) years. For feasibility purposes the Debtors estimate this claim
to be $522,877.12. Monthly payments shall be in the amount of $2,806.92;
beginning on the fifteenth day of the first full month following the Effective Date.

      (b) Capital shall be treated as partially secured in an amount equal to the
value of the collateral. Capital shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to Capital, with interest at the rate of four percent (4%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $85,800.00, based on the following appraisal
values: (i) 2000 Foxworth $32,000.00; (ii) 2218 Lyon Street $25,800.00; and (iii)
3033 Crawford Street $28,000.00 Monthly payments shall be in the amount of
$409.62 beginning on the fifteenth day of the first full month following the
Effective Date. The balance of Capital’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.
                                           35
 Case 10-30942    Doc 463     Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                              Document      Page 36 of 91




      (c) Capital shall be treated as partially secured in an amount equal to the
value of the collateral. Capital shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to Capital, with interest at the rate of four percent (4%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $130,500.00 based on the following appraisal
values (i) 1008 Briarwood Drive, $44,500.00; (ii) 1033 Park View Drive,
$39,000.00; and (iii) 08 Robinson Clemmer Street, $44,500.00; all located in
Gastonia, North Carolina Monthly payments shall be in the amount of $623.03
beginning on the fifteenth day of the first full month following the Effective Date.
The balance of Capital’s claim shall be treated as a general unsecured claim in
Class XXVI as described below.

      (d) Capital shall be treated as partially secured in an amount equal to the
value of the collateral. Capital shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to Capital, with interest at the rate of four percent (4%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $57,000.00. Monthly payments shall be in the
amount of $272.13 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Capital’s claim shall be treated as a general
unsecured claim in Class XXVI as described below


J.     Class X – Carolina Trust Bank:

      (1)   Classification.      Class X consists of the following four secured

claims:

       (a) Upon information and belief on or about November 15, 2006, the
Debtors entered into a Promissory Note and Deed of Trust with Carolina
Commerce Bank in the original principal amount of $67,500.00 (“Note#1”) Note #
1 was secured by a Deed of Trust, taking a security interest in rents and profits,
and all proceeds thereof in any form. Said Note and Deed of Trust were transferred
to Carolina Trust Bank (“CTB”). The Deed of Trust is secured by property located


                                         36
 Case 10-30942     Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20       Desc Main
                              Document      Page 37 of 91



at 811 N Avon, Gastonia, North Carolina. The Debtors estimate CTB’s claim to be
$59,342.12.

       (b) Upon information and belief on or about March 17, 2005, the Debtors
entered into a Promissory Note and Deed of Trust with Carolina Commerce Bank
in the original principal amount of $37,800.00 (“Note#2”) Note # 2 was secured by
a Deed of Trust, taking a security interest in rents and profits, and all proceeds
thereof in any form. Said Note and Deed of Trust were transferred to CTB. The
Deed of Trust is secured by property located at 907 East Harrison, Gastonia, North
Carolina. The Debtors estimate CTB’s claim to be $29,665.73.

      (c) Upon information and belief on or about August 1, 2006, the Debtors
entered into a Promissory Note and Deed of Trust with Carolina Trust Bank in the
original principal amount of $54,000.00 (“Note # 3”) Note # 3 was secured by a
Deed of Trust, taking a security interest in rents and profits, and all proceeds
thereof in any form. The Deed of Trust is secured by property located at 417 N.
Broad, Gastonia, North Carolina. The Debtors estimate CTB’s claim to be
$42,735.26.

      (d) Upon information and belief on or about March 24, 2008, the Debtors
entered into a Promissory Note and Deed of Trust with Carolina Trust Bank in the
original principal amount of $19,016.08 (“Note # 4”) Note # 4 was secured by a
Deed of Trust, taking a security interest in rents and profits, and all proceeds
thereof in any form. The Deed of Trust is secured by property located at 1854
Middle Street, Gastonia, North Carolina. The Debtors estimate CTB’s claim to be
$15,811.93

      (2)    Impairment. This class will be impaired.

      (3)    Treatment. The Debtors propose the following treatment:

     (a) Note # 1. CTB shall be treated as fully secured in an amount equal to the
value of the collateral. CTB shall retain its lien with the priority thereof, as existed
on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until
its allowed secured claim is paid in full. For feasibility purposes the Debtors value
this claim at $59,342.12. The Debtors shall make monthly payments to CTB, with
interest at the rate of five percent (5%) per annum amortized over a period of
twenty-five (25) years with a ten (10) year balloon. Monthly payments shall be in
the amount of $346.91 beginning on the fifteenth day of the first full month


                                           37
 Case 10-30942     Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20      Desc Main
                             Document      Page 38 of 91



following the Effective Date. The outstanding principal balance shall be due and
payable one hundred twenty (120) months from the Effective Date.


    (b) Note # 2.          CTB shall be treated as fully secured in an amount equal
to the value of the collateral. CTB shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. For feasibility purposes the
Debtors value this claim at $29,665.73. The Debtors shall make monthly payments
to CTB, with interest at the rate of five percent (5%) per annum amortized over a
period of twenty-five (25) years with a ten (10) year balloon. Monthly payments
shall be in the amount of $173.42 beginning on the fifteenth day of the first full
month following the Effective Date. The outstanding principal balance shall be due
and payable one hundred twenty (120) months from the Effective Date.



    (c) Note # 3.          CTB shall be treated as fully secured in an amount equal
to the value of the collateral. CTB shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to CTB, with interest at the rate of four percent (4%) per annum
amortized over a period of twenty-five (25) years with a ten (10) year balloon. For
feasibility purposes the Debtors value this claim at $42,735.26. Monthly payments
shall be in the amount of $279.06 beginning on the fifteenth day of the first full
month following the Effective Date. The outstanding principal balance shall be
due and payable one hundred twenty (120) months from the Effective Date.


    (d) Note # 4.          CTB shall be treated as fully secured in an amount equal
to the value of the collateral. CTB shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. For feasibility purposes the
Debtors value this claim at 15,811.93. The Debtors shall make monthly payments
to CTB, with interest at the rate of five percent (5%) per annum amortized over a
period of twenty-five (25) years with a 10 year balloon. Monthly payments shall be
in the amount of $92.43 beginning on the fifteenth day of the first full month
following the Effective Date. The outstanding principal balance shall be due and
payable one hundred twenty (120) months from the Effective Date.


                                          38
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                            Document      Page 39 of 91




K.    Class XI – CHASE:

      (1)   Classification. Class XI consists of seventeen obligations to Chase

more particularly described as follows:

       (a) Upon information and belief on or about November 12, 2004, the
Debtors entered into a Promissory Note with Long Beach Mortgage Corporation in
the original principal amount of $65,700.00 (“Note#1”) Note # 1 was secured by a
Deed of Trust, taking an assignment of rents. Said Note and Deed of Trust were
transferred to JP Morgan Chase Bank, National Association (“Chase”). The Deed
of Trust is secured by property located 817 North Avon Street, Gastonia, North
Carolina. Chase filed proof of claim # 51 in the amount of $72,850.37.

       (b) Upon information and belief on or about June 17, 2003, the Debtors
entered into a Promissory Note and Deed of Trust with Long Beach Mortgage
Corporation in the original principal amount of $44,000.00 (“Note#2”) Note # 2
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
of Trust were transferred to Chase. The Deed of Trust is secured by property
located at 716 Davie Street, Gastonia, North Carolina. Chase filed proof of claim #
43 in the amount of $44,145.25.

       (c) Upon information and belief on or about June 16, 2003, the Debtors
entered into a Promissory Note and Deed of Trust with Long Beach Mortgage
Corporation in the original principal amount of $44,000.00 (“Note#3”) Note # 3
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
of Trust were transferred to Chase. The Deed of Trust is secured by property
located at 720 Davie Street, Gastonia, North Carolina. Chase filed proof of claim #
52 in the amount of $49,069.42.

      (d) Upon information and belief on or about March 9, 2004, the Debtors
entered into a Promissory Note and Deed of Trust with Long Beach Mortgage
Corporation in the original principal amount of $45,750.00 (“Note#4”) Note # 4
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
of Trust were transferred to Chase. The Deed of Trust is secured by property
located at 2137 Hartford Drive, Gastonia, North Carolina. Chase filed proof of
claim # 54 in the amount of $50,111.99.


                                          39
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                            Document      Page 40 of 91



      (e) Upon information and belief on or about February 4, 2004, the Debtors
entered into a Promissory Note and Deed of Trust with Long Beach Mortgage
Corporation in the original principal amount of45,750.00 (“Note # 5”) Note # 5
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
of Trust were transferred to Chase. The Deed of Trust is secured by property
located at 2149 Hartford Drive, Gastonia, North Carolina. Chase filed proof of
claim # 45 in the amount of $49,434.11.

      (f) Upon information and belief on or about November 8, 2004, the Debtors
entered into a Promissory Note and Deed of Trust with Long Beach Mortgage
Corporation in the original principal amount of $106,4000.00 (“Note # 6”) Note #
6 was secured by a Deed of Trust, taking an assignment of rents. Said Note and
Deed of Trust were transferred to Chase. The Deed of Trust is secured by property
located at 210 Hill Street Unit A, Gastonia, North Carolina. Chase filed proof of
claim # 48 in the amount of $115,721.25.

       (g) Upon information and belief on or about June 17, 2003, the Debtors
entered into a Promissory Note and Deed of Trust with Long Beach Mortgage
Corporation in the original principal amount of $42,500.00 (“Note # 7”) Note # 7
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
of Trust were transferred to Chase. The Deed of Trust is secured by property
located at 2319 Knight Drive, Gastonia, North Carolina. Chase filed proof of claim
# 46 in the amount of $45,007.40.

       (h) Upon information and belief on or about June 18, 2003, the Debtors
entered into a Promissory Note and Deed of Trust with Long Beach Mortgage
Corporation in the original principal amount of $44,000.00 (“Note # 8”) Note # 8
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
of Trust were transferred to Chase. The Deed of Trust is secured by property
located at 1817 Middle Street, Gastonia, North Carolina. Chase filed proof of claim
# 60 in the amount of $46,294.54.

       (i) Upon information and belief on or about June 17, 2003, the Debtors
entered into a Promissory Note and Deed of Trust with Long Beach Mortgage
Corporation in the original principal amount of $44,000.00 (“Note # 9”) Note # 9
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
of Trust were transferred to Chase. The Deed of Trust is secured by property
located at 1823 Middle Street, Gastonia, North Carolina. Chase filed proof of claim
# 56 in the amount of $47,322.56.


                                        40
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                            Document      Page 41 of 91



       (j) Upon information and belief on or about June 17, 2003, the Debtors
entered into a Promissory Note and Deed of Trust with Long Beach Mortgage
Corporation in the original principal amount of $44,000.00 (“Note # 10”) Note #
10 was secured by a Deed of Trust, taking an assignment of rents. Said Note and
Deed of Trust were transferred to Chase. The Deed of Trust is secured by property
located at 1827 Middle Street, Gastonia, North Carolina. Chase filed proof of claim
# 42 in the amount of $46,451.30.

       (k) Upon information and belief on or about June 17, 2003, the Debtors
entered into a Promissory Note and Deed of Trust with Long Beach Mortgage
Corporation in the original principal amount of $44,000.00 (“Note # 11”) Note #
12 was secured by a Deed of Trust, taking an assignment of rents. Said Note and
Deed of Trust were transferred to Chase. The Deed of Trust is secured by property
located at 1831 Middle Street, Gastonia, North Carolina. Chase filed proof of claim
# 55 in the amount of $46,200.28.

       (l) Upon information and belief on or about June 17, 2003, the Debtors
entered into a Promissory Note and Deed of Trust with Long Beach Mortgage
Corporation in the original principal amount of $44,000.00 (“Note # 12”) Note #
13 was secured by a Deed of Trust, taking an assignment of rents. Said Note and
Deed of Trust were transferred to Chase. The Deed of Trust is secured by property
located at 1837 Middle Street, Gastonia, North Carolina. Chase filed proof of claim
# 50 in the amount of $45,624.04.

       (m) Upon information and belief on or about June 16, 2003, the Debtors
entered into a Promissory Note and Deed of Trust with Long Beach Mortgage
Corporation in the original principal amount of $44,000.00 (“Note # 13”) Note #
13 was secured by a Deed of Trust, taking an assignment of rents. Said Note and
Deed of Trust were transferred to Chase. The Deed of Trust is secured by property
located at 1843 Middle Street, Gastonia, North Carolina. Chase filed proof of claim
# 47 in the amount of $47,357.86.

      (n) Upon information and belief on or about February 10, 2004, the Debtors
entered into a Promissory Note and Deed of Trust with Long Beach Mortgage
Corporation in the original principal amount of $50,250.00 (“Note # 14”) Note #
14 was secured by a Deed of Trust, taking an assignment of rents. Said Note and
Deed of Trust were transferred to Chase. The Deed of Trust is secured by property
located at 3001 Matthews Drive aka 625 New Castle, Gastonia, North Carolina.
Chase filed proof of claim # 55 in the amount of $55,326.97.


                                        41
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                            Document      Page 42 of 91



      (o) Upon information and belief on or about June 17, 2003, the Debtors
entered into a Promissory Note and Deed of Trust with Long Beach Mortgage
Corporation in the original principal amount of $50,400.00 (“Note # 15”) Note #
15 was secured by a Deed of Trust, taking an assignment of rents. Said Note and
Deed of Trust were transferred to Chase. The Deed of Trust is secured by property
located at 1063 Parkview Drive, Gastonia, North Carolina. Chase filed proof of
claim # 57 in the amount of $52,673.90.

      (p) Upon information and belief on or about November 12, 2004, the
Debtors entered into a Promissory Note and Deed of Trust with Long Beach
Mortgage Corporation in the original principal amount of $65,700.00 (“Note #
16”) Note # 16 was secured by a Deed of Trust, taking an assignment of rents. Said
Note and Deed of Trust were transferred to Chase. The Deed of Trust is secured by
property located at 211 North Pryor Street, Gastonia, North Carolina. Chase filed
proof of claim # 55 in the amount of $71,527.92.

      (q) Upon information and belief on or about June 18, 2003, the Debtors
entered into a Promissory Note and Deed of Trust with Long Beach Mortgage
Corporation in the original principal amount of $45,750.00 (“Note # 17”) Note #
17 was secured by a Deed of Trust, taking an assignment of rents. Said Note and
Deed of Trust were transferred to Chase. The Deed of Trust is secured by property
located at 3623 Robinson Circle, Gastonia, North Carolina. Chase filed proof of
claim # 44 in the amount of $48,654.88

      (2)   Impairment. This class will be impaired.

      (3)   Treatment. The Debtors propose the following treatment:

       (a) Note # 1.     Chase shall be treated as partially secured in an amount
equal to the value of the collateral. Chase shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to Chase, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $56,500.00. Monthly payments shall be in the
amount of $303.30 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Chase’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.



                                        42
 Case 10-30942     Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20      Desc Main
                              Document      Page 43 of 91



       (b) Note # 2. Chase shall be treated as partially secured in an amount equal
to the value of the collateral. Chase shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to Chase, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $26,000.00. Monthly payments shall be in the
amount of $139.57 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Chase’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

       (c) Note # 3. Chase shall be treated as partially secured in an amount equal
to the value of the collateral. Chase shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to Chase, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $26,000.00. Monthly payments shall be in the
amount of $139.57 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Chase’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

       (d) Note # 4. Chase shall be treated as partially secured in an amount equal
to the value of the collateral. Chase shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to Chase, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $32,000.00. Monthly payments shall be in the
amount of $171.78 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Chase’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

       (e) Note # 5. Chase shall be treated as partially secured in an amount equal
to the value of the collateral. Chase shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to Chase, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $32,000.00. Monthly payments shall be in the
                                           43
 Case 10-30942     Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20      Desc Main
                              Document      Page 44 of 91



amount of $171.78 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Chase’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (f) Note # 6.      Chase shall be treated as partially secured in an amount
equal to the value of the collateral. Chase shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to Chase, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $45,007.40. Monthly payments shall be in the
amount of $241.61 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Chase’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

       (g) Note # 7.     Chase shall be treated as partially secured in an amount
equal to the value of the collateral. Chase shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to Chase, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $28,000.00. Monthly payments shall be in the
amount of $150.31beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Chase’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

       (h) Note # 8. Chase shall be treated as partially secured in an amount equal
to the value of the collateral. Chase shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to Chase, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $26,000.00. Monthly payments shall be in the
amount of $139.57 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Chase’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

       (i) Note # 9. Chase shall be treated as partially secured in an amount equal
to the value of the collateral. Chase shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
                                           44
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                            Document      Page 45 of 91



Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to Chase, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $26,000.00. Monthly payments shall be in the
amount of $139.57 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Chase’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (j) Note # 10.     Chase shall be treated as partially secured in an amount
equal to the value of the collateral. Chase shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to Chase, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $26,000.00. Monthly payments shall be in the
amount of $139.57 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Chase’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (k) Note # 11.     Chase shall be treated as partially secured in an amount
equal to the value of the collateral. Chase shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to Chase, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $26,000.00. Monthly payments shall be in the
amount of $139.57 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Chase’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (l) Note # 12.     Chase shall be treated as partially secured in an amount
equal to the value of the collateral. Chase shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to Chase, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $26,000.00. Monthly payments shall be in the
amount of $139.57 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Chase’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.
                                        45
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                            Document      Page 46 of 91




      (m) Note # 13.     Chase shall be treated as partially secured in an amount
equal to the value of the collateral. Chase shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to Chase, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $26,000.00. Monthly payments shall be in the
amount of $139.57 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Chase’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (n) Note # 14.     Chase shall be treated as partially secured in an amount
equal to the value of the collateral. Chase shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to Chase, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $37,000.00. Monthly payments shall be in the
amount of $198.62 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Chase’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (p) Note # 15.     Chase shall be treated as partially secured in an amount
equal to the value of the collateral. Chase shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to Chase, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $37,500.00. Monthly payments shall be in the
amount of $201.31 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Chase’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (q) Note # 16.     Chase shall be treated as partially secured in an amount
equal to the value of the collateral. Chase shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to Chase, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
                                        46
 Case 10-30942    Doc 463     Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                              Document      Page 47 of 91



Debtors estimate this claim to be $46,000.00. Monthly payments shall be in the
amount of $246.94 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Chase’s claim shall be treated as a general
unsecured claim in Class XXVII as described below.

      (r) Note # 17.     Chase shall be treated as partially secured in an amount
equal to the value of the collateral. Chase shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to Chase, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $48,654.88. Monthly payments shall be in the
amount of $261.19 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Chase’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

L.    Class XII – CHERRYVILLE:

      (1)   Classification.      Class XII consists of the following eight secured

claims:

      (a) Upon information and belief on or about January 15, 2002 the Debtors
entered into a Promissory Note and Deed of Trust with Cherryville Federal
Savings and Loan (“Cherryville”) in the original principal amount of $376,800.00
(“Note # 1”) Note # 1 was secured by a Deed of Trust, taking a security interest in
rents and profits, and all proceeds thereof in any form.. The Deed of Trust is
secured by the following properties: (1) 528 Tareytown Drive; (2) 511 Newcastle
Drive; (3) 912 Shannon Bradley Road; (4) 660 Newcastle Road; (5) 2712 Crescent
Lane; (6) 3031 Salem Drive; and (7) 3100 Spring Valley Drive located in
Gastonia, N.C. the Debtors estimate Cherryville’s claim to be $274,032.07

      (b) Upon information and belief on or about February 13, 2003 the Debtors
entered into a Promissory Note and Deed of Trust with Cherryville Federal
Savings and Loan (“Cherryville”) in the original principal amount of $49,600.00
(“Note # 2”) Note # 2 was secured by a Deed of Trust, taking a security interest in
rents and profits, and all proceeds thereof in any form.. The Deed of Trust is
secured by property located at 553 Tareytown Drive, Gastonia, N.C. the Debtors
estimate Cherryville’s claim to be $39,468.17


                                         47
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                            Document      Page 48 of 91



      (c) Upon information and belief on or about February 25, 2003 the Debtors
entered into a Promissory Note and Deed of Trust with Cherryville Federal
Savings and Loan (“Cherryville”) in the original principal amount of $64,800.00
(“Note # 3”) Note # 3 was secured by a Deed of Trust, taking a security interest in
rents and profits, and all proceeds thereof in any form.. The Deed of Trust is
secured by property located at 2737 Meade Ave, Gastonia, N.C. the Debtors
estimate Cherryville’s claim to be $61,025.76.

      (d) Upon information and belief on or about May 20, 2005 the Debtors
entered into a Promissory Note and Deed of Trust with Cherryville Federal
Savings and Loan (“Cherryville”) in the original principal amount of $55,200.00
(“Note # 4”) Note # 4 was secured by a Deed of Trust, taking a security interest in
rents and profits, and all proceeds thereof in any form.. The Deed of Trust is
secured by property located at 601 N. McFarland Street Gastonia, N.C. the Debtors
estimate Cherryville’s claim to be $51,745.13.

      (e) Upon information and belief on or about May 23, 2005 the Debtors
entered into a Promissory Note and Deed of Trust with Cherryville Federal
Savings and Loan (“Cherryville”) in the original principal amount of $55,200.00
(“Note # 5”) Note # 5 was secured by a Deed of Trust, taking a security interest in
rents and profits, and all proceeds thereof in any form. The Deed of Trust is
secured by property located at 721 E. 3rd Ave, Gastonia, N.C. the Debtors estimate
Cherryville’s claim to be $50,684.37.

      (f) Upon information and belief on or about September 21, 2006 the Debtors
entered into a Promissory Note and Deed of Trust with Cherryville Federal
Savings and Loan (“Cherryville”) in the original principal amount of $73,150.00
(“Note # 6”) Note # 6 was secured by a Deed of Trust, taking a security interest in
rents and profits, and all proceeds thereof in any form.. The Deed of Trust is
secured by property located at 716 N. Chestnut Street, Gastonia, N.C. the Debtors
estimate Cherryville’s claim to be $66,890.98.

      (g) Upon information and belief on or about March 15, 2005 the Debtors
entered into a Promissory Note and Deed of Trust with Cherryville Federal
Savings and Loan (“Cherryville”) in the original principal amount of $50,000.00
(“Note # 7”) Note # 7 was secured by a Deed of Trust, taking a security interest in
rents and profits, and all proceeds thereof in any form.. The Deed of Trust is
secured by property located at 713 N. Avon, Gastonia, N.C. the Debtors estimate
Cherryville’s claim to be $44,890.09.


                                        48
 Case 10-30942     Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20       Desc Main
                             Document      Page 49 of 91



      (h) Upon information and belief on or about July 24, 2004 the Debtors
entered into a Promissory Note and Deed of Trust with Cherryville Federal
Savings and Loan (“Cherryville”) in the original principal amount of $72,000.00
(“Note #8”) Note # 8 was secured by a Deed of Trust, taking a security interest in
rents and profits, and all proceeds thereof in any form.. The Deed of Trust is
secured by property located at 732 N. Chestnut Street, Gastonia, N.C. the Debtors
estimate Cherryville’s claim to be $64,904.91

      (2)    Impairment. This class will be impaired.

      (3)    Treatment. The Debtors propose the following treatment

       (a) Cherryville shall be treated as fully secured in an amount equal to the
value of the collateral. Cherryville shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to Cherryville, with interest at the rate of five percent (5%) per
annum amortized over a period of twenty-five (25) years. For feasibility purposes
the Debtors estimate this claim to be $274,032.07. Monthly payments shall be in
the amount of $1,601.96 beginning on the fifteenth day of the first full month
following the Effective Date.

      (b) Cherryville shall be treated as fully secured in an amount equal to the
value of the collateral. Cherryville shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to Cherryville, with interest at the rate of five percent (5%) per
annum amortized over a period of twenty-five (25) years. For feasibility purposes
the Debtors estimate this claim to be $39,468.17. Monthly payments shall be in the
amount of $230.73 beginning on the fifteenth day of the first full month following
the Effective Date.

      (c) Cherryville shall be treated as fully secured in an amount equal to the
value of the collateral. Cherryville shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to Cherryville, with interest at the rate of five percent (5%) per
annum amortized over a period of twenty-five (25) years. For feasibility purposes
the Debtors estimate this claim to be $61,025.76. Monthly payments shall be in the


                                          49
 Case 10-30942     Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20       Desc Main
                             Document      Page 50 of 91



amount of $356.75 beginning on the fifteenth day of the first full month following
the Effective Date.

      (d) Cherryville shall be treated as fully secured in an amount equal to the
value of the collateral. Cherryville shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to Cherryville, with interest at the rate of five percent (5%) per
annum amortized over a period of twenty-five (25) years. For feasibility purposes
the Debtors estimate this claim to be $51,745.13. Monthly payments shall be in the
amount of $302.50 beginning on the fifteenth day of the first full month following
the Effective Date.

      (e) Cherryville shall be treated as fully secured in an amount equal to the
value of the collateral. Cherryville shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to Cherryville, with interest at the rate of five percent (5%) per
annum amortized over a period of twenty-five (25) years. For feasibility purposes
the Debtors estimate this claim to be $50,684.37. Monthly payments shall be in the
amount of $296.30beginning on the fifteenth day of the first full month following
the Effective Date.

      (f) Cherryville shall be treated as fully secured in an amount equal to the
value of the collateral. Cherryville shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to Cherryville, with interest at the rate of five percent (5%) per
annum amortized over a period of twenty-five (25) years. For feasibility purposes
the Debtors estimate this claim to be $66,890.98. Monthly payments shall be in the
amount of $391.04 beginning on the fifteenth day of the first full month following
the Effective Date.

      (g) Cherryville shall be treated as partially secured in an amount equal to the
value of the collateral. Cherryville shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to Cherryville, with interest at the rate of five percent (5%) per
annum amortized over a period of twenty-five (25) years. For feasibility purposes
the Debtors estimate this claim to be $44,890.09. Monthly payments shall be in the
                                          50
 Case 10-30942     Doc 463     Filed 03/22/11 Entered 03/22/11 20:30:20     Desc Main
                               Document      Page 51 of 91



amount of $262.42 beginning on the fifteenth day of the first full month following
the Effective Date.

      (h) Cherryville shall be treated as partially secured in an amount equal to the
value of the collateral. Cherryville shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to Cherryville, with interest at the rate of five percent (5%) per
annum amortized over a period of twenty-five (25) years. For feasibility purposes
the Debtors estimate this claim to be $64,904.91. Monthly payments shall be in the
amount of $379.43 beginning on the fifteenth day of the first full month following
the Effective Date.




M.    Class XIII– Fidelity:

      (1)    Classification.      Class XIII consists of the following two secured

claims:

       (a) Upon information and belief on or about August 22, 2006, the Debtors
entered into a Promissory Note and Deed of Trust with Fidelity Bank (“Fidelity”)
in the original principal amount of $198,000.00 (“Note # 1”) Note # 1 was secured
by a Deed of Trust, taking a security interest in rents and profits, and all proceeds
thereof in any form.. The Deed of Trust is secured by property located at 4502 Pine
Crest Street, North Myrtle Beach, South Carolina. The Debtors estimate Fidelity’s
claim to be $175,903.80.

       (b) Upon information and belief on or about August 1, 2006, the Debtors
entered into a Promissory Note and Deed of Trust with Fidelity in the original
principal amount of $200,00.00 (“Note#2”) Note # 2 was secured by a Deed of
Trust, taking a security interest in rents and profits, and all proceeds thereof in any
form. The Deed of Trust is secured by property located at 923 North Marietta
Street, Gastonia, North Carolina. The Debtors estimate Fidelity’s claim to be
$199,184.91



                                          51
 Case 10-30942     Doc 463      Filed 03/22/11 Entered 03/22/11 20:30:20      Desc Main
                                Document      Page 52 of 91



       (2)    Impairment. This class will be impaired.

       (3)    Treatment. The Debtors propose the following treatment

    (a) Fidelity shall be treated as fully secured in an amount equal to the value of
the collateral. Fidelity shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its
allowed secured claim is paid in full. The Debtors shall make monthly payments to
Fidelity, with interest at the rate of six percent (6%) per annum amortized over a
period of fifteen (15) years. For feasibility purposes the Debtors estimate this claim
to be $175,903.80. Monthly payments shall be in the amount of $1,484.38
beginning on the fifteenth day of the first full month following the Effective Date.
The outstanding principal balance shall be due and payable one hundred twenty
(120) months from the Effective Date.


    (b) Fidelity shall be treated as fully secured in an amount equal to the value of
the collateral. Fidelity shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its
allowed secured claim is paid in full. The Debtors shall make monthly payments to
Fidelity, with interest at the rate of six percent (6%) per annum amortized over a
period of fifteen (15) years. For feasibility purposes the Debtors estimate this claim
to be $199,284.91. Monthly payments shall be in the amount of $1,681.68
beginning on the fifteenth day of the first full month following the Effective Date.
The outstanding principal balance shall be due and payable one hundred twenty
(120) months from the Effective Date.


N.     Class XIV – Fifth Third Bank:

       (1)    Classification.      Class XIV consists of the following two secured

claims:

      (a) Upon information and belief on or about September 6, 2002, the Debtors
entered into a Promissory Note and Deed of Trust with First Charter Bank in the
original principal amount of $208,000.0.00 (“Note#1”) Note # 1 was secured by a
Deed of Trust, taking a security interest in rents and profits, and all proceeds
thereof in any form. Said Note and Deed of Trust were transferred to Fifth Third
Bank. The Deed of Trust is secured by property located at 432 Wilson Farm Road,
                                            52
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20     Desc Main
                            Document      Page 53 of 91



Gastonia, North Carolina. Fifth Third Bank filed proof of claim number 5 in the
amount of $182,113.83

       (b) Upon information and belief on or about September 10, 2001, the
Debtors entered into a Promissory Note and Deed of Trust with First Charter Bank
in the original principal amount of $40,000.00 (“Note# 2”) Note # 2 was secured
by a Deed of Trust, taking a security interest in rents and profits, and all proceeds
thereof in any form. Said Note and Deed of Trust were transferred to Fifth Third
Bank. The Deed of Trust is secured by property located at 438 Wilson Farm Road,
Gastonia, North Carolina. The Debtor estimates Fifth Third Bank’s claim is
$36,491.00.


      (2)    Impairment. This class will be impaired.

      (3)    Treatment. The Debtors propose the following treatment:

       (a) Note # 1.      Fifth Third Bank’s claim shall be treated unimpaired.
Fifth Third Bank shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its
secured claim is paid in full. The Debtors shall make payments to Fifth Third
Bank, pursuant to the original contract terms. The Debtors will pay the mortgage
arrearages as listed on Fifth Third Bank’s proof of claim in the amount of
$11,446.02 over a period of five (5) years at a rate of five and one quarter (5.25%)
percent per annum. Monthly arrearage payments shall be in the amount of $217.31
beginning on the fifteenth day of the first full month following the Effective Date.

       (b) Note # 2.         Fifth Third Bank shall be treated as fully secured in an
amount equal to the value of the collateral. Fifth Third Bank shall retain its lien
with the priority thereof, as existed on the Petition Date pursuant to
1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is paid
in full. The Debtors shall make monthly payments to Fifth Third Bank, with
interest at the rate of five percent (5%) per annum amortized over a period of thirty
(30) years. The Debtors estimate this claim to be $36,491.25. Monthly payments
shall be in the amount of $195.89 beginning on the fifteenth day of the first full
month following the Effective Date.


O.    Class XV – First National Bank:


                                         53
 Case 10-30942    Doc 463      Filed 03/22/11 Entered 03/22/11 20:30:20    Desc Main
                               Document      Page 54 of 91



      (1)    Classification.      Class XV consists of the following seven secured

claims:

      (a) Upon information and belief on or about December 8, 2002, the Debtors
entered into a Promissory Note and Deed of Trust with First National Bank of
Shelby in the original principal amount of $128,000.00 (“Note#1”) Note # 1 was
secured by a Deed of Trust, taking a security interest in rents and profits, and all
proceeds thereof in any form. The Deed of Trust is secured by property located at
202 South Roxford Rd, Kings MTN, North Carolina, and 310 Willow St.,
Gastonia, North Carolina. First National Bank of Shelby filed proof of claim # 1 in
the amount of $69,488.98.

       (b) Upon information and belief on or about August 15, 2008, the Debtors
entered into a Consumer Security Agreement with First National Bank in the
original principal amount of $600,000.00 The Consumer Security Agreement was
secured by the following Deeds of Trust: (1)second mortgage on 4502 Pinecrest
Street, North Myrtle Beach, North Carolina;(2) a second mortgage on 432 Wilson
Farm Road, Gastonia, North Carolina; (3) first lien on 904 Neal Hawkins Rd,
Gastonia, North Carolina; a second mortgage on 1228 Oliver Hill Rd Banner Elk
North Carolina; and (4) 3417 Gatewood North Carolina. First National Bank of
Shelby filed proof of claim # 4 in the amount of $587,729.02


      (2)    Impairment. This class will be impaired.

      (3)    Treatment. The Debtors propose the following treatment:

    (a) Note # 1. First National Bank shall be treated as fully secured in an
amount equal to the value of the collateral. First National Bank shall retain its lien
with the priority thereof, as existed on the Petition Date pursuant to
1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is paid
in full. The Debtors shall make monthly payments to First National Bank, with
interest at the rate of four percent (5%) per annum amortized over a period of
twenty-five (25) years with a ten (10) year balloon. The Debtors estimate this
claim to be $74,466.70. Monthly payments shall be in the amount of $435.00
beginning on the first day of the first full month following the Effective Date. The
outstanding principal balance shall be due and payable one hundred twenty (120)
months from the Effective Date.


                                          54
 Case 10-30942     Doc 463     Filed 03/22/11 Entered 03/22/11 20:30:20       Desc Main
                               Document      Page 55 of 91




    (b) ) Note # 2. First National Bank shall be treated as fully secured in an
amount equal to the value of the collateral. First National Bank shall retain its lien
with the priority thereof, as existed on the Petition Date pursuant to
1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is paid
in full. The Debtors shall make monthly payments to First National Bank, with
interest at the rate of four percent (5%) per annum amortized over a period of
twenty-five (25) years with a ten (10) year balloon. Debtors estimate this claim to
be $622,096.00. Monthly payments shall be in the amount of $3,637.00 beginning
on the first day of the first full month following the Effective Date. The
outstanding principal balance shall be due and payable one hundred twenty (120)
months from the Effective Date.




P.    Class XVI – Bill Gillespie:

      (1)    Classification.      Class XVI consist of the following obligation to

Bill Gillespie particularly described as follows:

   (a) Upon information and belief on or about October 19, 1999, the Debtors
entered into a Promissory Note with American Community Bank in the original
principal amount of $99,500.00 (“Note#1”) Note # 1 was assigned to William
Gillespie, Sr. Note # 1 is secured by a Deed of Trust, taking a security interest in
rents and profits or and any proceeds thereof. The Deed of Trust is secured by
property located at 413 Willow St, Gastonia, North Carolina. The Debtors estimate
Bill Gillespie’s claim at $47,000.00

      (2)    Impairment. This class will be impaired.

      (3)    Treatment. The Debtors propose the following treatment:

       (a) Bill Gillespie shall be treated as fully secured in an amount equal to the
value of the collateral. Bill Gillespie shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to Bill Gillespie, with interest at the rate of four percent (4%)
per annum amortized over a period of thirty (30) years. The Debtors estimate this
                                            55
 Case 10-30942    Doc 463     Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                              Document      Page 56 of 91



claim to be 47,000.00. Monthly payments shall be in the amount of $224.39
beginning on the fifteenth day of the first full month following the Effective Date.



Q.    Class XVII – GMAC Mortgage, LLC:

      (1)   Classification.      Class XVII consist of ten obligations to GMAC

more particularly described as follows:

   (a) Upon information and belief on or about February 14, 2000, the Debtors
entered into a Promissory Note with Fleet Mortgage Corporation in the original
principal amount of $31,500.00 (“Note#1”) Note # 1 was secured by a Deed of
Trust, taking an assignment of rents. Said Note and Deed of Trust were transferred
to GMAC Mortgage, LLC (“GMAC”). The Deed of Trust is secured by property
located at 624 Wendy Hill Trail, Gastonia, North Carolina. GMAC filed proof of
claim # 12 in the amount of $30,945.06.

 (b) Upon information and belief on or about December 30, 1999, the Debtors
entered into a Promissory Note and Deed of Trust with Homecomings Financial
Network Inc. in the original principal amount of $39,900.00 (“Note#2”) Note # 2
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
of Trust were transferred to GMAC. The Deed of Trust is secured by property
located at 2001 Foxworth Street, Gastonia, North Carolina. GMAC filed proof of
claim # 7 in the amount of $36,858.68.

(c) Upon information and belief on or about December 30, 1999, the Debtors
entered into a Promissory Note with Homecomings Financial Network in the
original principal amount of $47,900.00 (“Note # 3”) Note # 3 was secured by a
Deed of Trust, taking an assignment of rents and all proceeds thereof in any form.
Said Note and Deed of Trust were transferred to GMAC. The Deed of Trust is
secured by property located at 2119 Hartford Street, Gastonia, North Carolina.
GMAC filed proof of claim # 10 in the amount of $45,841.31.

(d) Upon information and belief on or about December 30, 1999, the Debtors
entered into a Promissory Note Credit Homecomings Financial Network, in the
original principal amount of $43,000.00. (“Note # 4”) Note # 4 was secured by a
Deed of Trust, taking an assignment of rents and all proceeds thereof in any form.
Said Note and Deed of Trust were transferred to GMAC .The Deed of Trust is
                                          56
 Case 10-30942   Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                           Document      Page 57 of 91



secured by property located at 1804 South Perry Street, Gastonia, North Carolina.
The Debtors estimate GMAC’s claim to be $41,370.14.

(e) Upon information and belief on or about February 16, 2000, the Debtors
entered into a Promissory Note and Deed of Trust with Fleet Mortgage
Corporation, in the original principal amount of $39,200.00 (“Note # 5) Note # 5
was secured by a Deed of Trust, taking an assignment of rents and all proceeds
thereof in any form. Said Note and Deed of Trust were transferred to GMAC. The
Deed of trust is secured by property located at 615 North Weldon Street, Gastonia,
North Carolina. GMAC filed proof of claim # 9 in the amount of $36,177.10

(f) Upon information and belief on or about September 17, 2003, the Debtors
entered into a Promissory Note with Fieldstone Mortgage Corporation in the
original principal amount of $93,750.00. (“Note #6”) Note # 6 was secured by a
Deed of Trust, taking an assignment of rents and all proceeds thereof in any form.
Said Note and Deed of Trust were transferred to GMAC. The Deed of Trust is
secured by property located at 2709A & 2709B Westview Street, Gastonia, North
Carolina. GMAC filed proof of claim # 11 in the amount of $92,241.43.

(g) Upon information and belief on or about September 21, 2006, the Debtors
entered into a Promissory Note with Homecomings Financial Network, Inc., in the
original principal amount of $73,600.00. (“Note # 7”) Note # 7 was secured by a
Deed of Trust, taking an assignment of rents and all proceeds thereof in any form.
Said Note and Deed of Trust were transferred to GMAC. The Deed of Trust is
secured by property located at 620 North Rhyne Street, Gastonia, North Carolina.
The Debtors estimate GMAC’s claim to be 83,824.38.

(h) Upon information and belief on or about September 21, 2006, the Debtors
entered into a Promissory Note with Homecomings Financial Network, Inc., in the
original principal amount of $93,750.00. (“Note # 8”) Note # 8 was secured by a
Deed of Trust, taking an assignment of rents and all proceeds thereof in any form.
Said Note and Deed of Trust were transferred to GMAC. The Deed of Trust is
secured by property located at 724 North Chestnut Street, Gastonia, North
Carolina. GMAC filed proof of claim # 19 in the amount of $81,319.87.

(i) Upon information and belief on or about September 21, 2006, the Debtors
entered into a Promissory Note with Homecomings Financial Network, Inc., in the
original principal amount of $73,600.00. (“Note #9”) Note # 9 was secured by a
Deed of Trust, taking an assignment of rents and all proceeds thereof in any form.
Said Note and Deed of Trust were transferred to GMAC. The Deed of Trust is
                                        57
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20    Desc Main
                            Document      Page 58 of 91



secured by property located at 2710 Westview Street, Gastonia, North Carolina.
GMAC filed proof of claim # 13 in the amount of $75,708.55.

(j) Upon information and belief on or about September 21, 2006, the Debtors
entered into a Promissory Note with Homecomings Financial Network, Inc., in the
original principal amount of $69,350.00. (“Note #10”) Note # 10 was secured by a
Deed of Trust, taking an assignment of rents and all proceeds thereof in any form.
Said Note and Deed of Trust were transferred to GMAC. The Deed of Trust is
secured by property located at 1001 E Harrison Street, Gastonia, North Carolina.
GMAC filed proof of claim # 15 in the amount of $75,266.20.

      (2)   Impairment. This class will be impaired.

      (3)   Treatment. The Debtors propose the following treatment:

       (a) Note # 1.     GMAC shall be treated as partially secured in an amount
equal to the value of the collateral. GMAC shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to GMAC, with interest at the rate of five percent (5%)
per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $30,000.00. Monthly payments shall be in the
amount of $161.05 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of GMAC’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (b) Note # 2.      GMAC shall be treated as partially secured in an amount
equal to the value of the collateral. GMAC shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to GMAC, with interest at the rate of five percent (5%)
per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $30,500.00. Monthly payments shall be in the
amount of $163.73 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of GMAC’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (c) Note # 3.      GMAC shall be treated as partially secured in an amount
equal to the value of the collateral. GMAC shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
                                        58
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20    Desc Main
                            Document      Page 59 of 91



Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to GMAC, with interest at the rate of five percent (5%)
per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $38,000.00. Monthly payments shall be in the
amount of $203.99 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of GMAC’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (d) Note # 4.      GMAC shall be treated as partially secured in an amount
equal to the value of the collateral. GMAC shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to GMAC, with interest at the rate of five percent (5%)
per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $30,000.00. Monthly payments shall be in the
amount of $161.05 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of GMAC’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (e) Note # 5.      GMAC shall be treated as partially secured in an amount
equal to the value of the collateral. GMAC shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to GMAC, with interest at the rate of five percent (5%)
per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $35,000.00. Monthly payments shall be in the
amount of $187.89 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of GMAC’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (f) Note # 6.      GMAC shall be treated as partially secured in an amount
equal to the value of the collateral. GMAC shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to GMAC, with interest at the rate of five percent (5%)
per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $87,000.00. Monthly payments shall be in the
amount of $467.03 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of GMAC’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.
                                        59
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20    Desc Main
                            Document      Page 60 of 91




       (g) Note # 7.     GMAC shall be treated as partially secured in an amount
equal to the value of the collateral. GMAC shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to GMAC, with interest at the rate of five percent (5%)
per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $56,500.00. Monthly payments shall be in the
amount of $303.30 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of GMAC’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (h) Note # 8.      GMAC shall be treated as partially secured in an amount
equal to the value of the collateral. GMAC shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to GMAC, with interest at the rate of five percent (5%)
per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $58,800.00. Monthly payments shall be in the
amount of $315.65 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of GMAC’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (i) Note # 9.      GMAC shall be treated as partially secured in an amount
equal to the value of the collateral. GMAC shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to GMAC, with interest at the rate of five percent (5%)
per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $42,000.00. Monthly payments shall be in the
amount of $225.47 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of GMAC’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (j) Note # 10.     GMAC shall be treated as partially secured in an amount
equal to the value of the collateral. GMAC shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to GMAC, with interest at the rate of five percent (5%)
per annum amortized over a period of thirty (30) years. For feasibility purposes the
                                        60
 Case 10-30942     Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20      Desc Main
                              Document      Page 61 of 91



Debtors estimate this claim to be $58,800.00. Monthly payments shall be in the
amount of $315.65 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of GMAC’s claim shall be treated as a general
unsecured claim in Class XXVII as described below.


R.    Class XVIII– IBM:

      (1) Classification.       Class XVIII consists of the following secured
claim: upon information and belief on or about August1 17, 2004, the Debtors
entered into a Promissory Note and Deed of Trust with RBC Mortgage Company
(“RBC”) in the original principal amount of $56,250.00 (“Note # 1”) Note # 1 was
secured by a Deed of Trust, taking a security interest in rents and profits, and all
proceeds thereof in any form. The Deed of Trust was transferred to IBM. The Deed
of Trust is secured by property located at Street, 803 Robinson Road, Gastonia
North Carolina. IBM filed proof of claim # 81 in the amount of $60,251.61

      (2)    Impairment. This class will be impaired.

      (3)    Treatment. The Debtors propose the following treatment

        (a) IBM shall be treated as partially secured in an amount equal to the value
of the collateral. IBM shall retain its lien with the priority thereof, as existed on the
Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its
allowed secured claim is paid in full. The Debtors shall make monthly payments to
IBM, with interest at the rate of five percent (5%) per annum amortized over a
period of thirty (30) years. For feasibility purposes the Debtors estimate this claim
to be $55,000.00. Monthly payments shall be in the amount of $295.25 beginning
on the fifteenth day of the first full month following the Effective Date. The
balance of IBM’s claim shall be treated as a general unsecured claim in Class
XXVII as described below.

S.    Class XIX– INDY MAC:

      (1) Classification.      Class XIX consists of the following secured claim
Upon information and belief on or about June 23, 2005, the Debtors entered into a
Promissory Note and Deed of Trust with Amtrust Mortgage Corporation
(“Amtrust”) in the original principal amount of $ (“Note # 1”) Note # 1 was
secured by a Deed of Trust, taking a security interest in rents and profits, and all
proceeds thereof in any form. The Deed of Trust was transferred to IndyMac. The
                                           61
 Case 10-30942    Doc 463     Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                              Document      Page 62 of 91



Deed of Trust is secured by property located at 2902 Crawford Road, North
Carolina. The Debtors estimate IndyMac’s claim to be $50,000.00.

      (2)   Impairment. This class will be impaired.

      (3)   Treatment. The Debtors propose the following treatment

       (a) IndyMac shall be treated as partially secured in an amount equal to the
value of the collateral. IndyMac shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to IndyMac, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $27,000.00. Monthly payments shall be in the
amount of $144.94 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of IndyMac’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

T.    Class XX– Litton:

      (1)   Classification.      Class XX consists of the following three secured

claims:

       (a) Upon information and belief on or about November 23, 2003, the
Debtors entered into a Promissory Note and Deed of Trust with Long Beach
Mortgage Corporation in the original principal amount of $62,250.00 (“Note#1”)
Note # 1 was secured by a Deed of Trust, taking a security interest in rents and
profits, and all proceeds thereof in any form. Said Note and Deed of Trust were
transferred to JPMorgan Chase. Litton Loan Servicing, LP (“Litton”) is the loan
servicer. The Deed of Trust is secured by property located at 2700 Westview,
Gastonia, North Carolina. Litton filed proof of claim # 74 in the amount of
$65,642.60.

       (b) Upon information and belief on or about November 23, 2003, the
Debtors entered into a Promissory Note and Deed of Trust with Long Beach
Mortgage Corporation in the original principal amount of $62,250.00 (“Note#2”)
Note # 2 was secured by a Deed of Trust, taking a security interest in rents and
profits, and all proceeds thereof in any form. Said Note and Deed of Trust were
transferred to JPMorgan Chase. Litton Loan Servicing, LP (“Litton”) is the loan
                                         62
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20    Desc Main
                            Document      Page 63 of 91



servicer. The Deed of Trust is secured by property located at 2704 Westview,
Gastonia, North Carolina. Litton filed proof of claim # 67 in the amount of
$65,319.02.

       (c) Upon information and belief on or about November 23, 2003, the
Debtors entered into a Promissory Note and Deed of Trust with Long Beach
Mortgage Corporation in the original principal amount of $62,250.00 (“Note # 3”)
Note # 3 was secured by a Deed of Trust, taking a security interest in rents and
profits, and all proceeds thereof in any form. Said Note and Deed of Trust were
transferred to JPMorgan Chase. Litton Loan Servicing, LP (“Litton”) is the loan
servicer. The Deed of Trust is secured by property located at 2802 Westview,
Gastonia, North Carolina. Litton filed proof of claim # 73 in the amount of
$66,071.82.

      (2)   Impairment. This class will be impaired.

      (3)   Treatment. The Debtors propose the following treatment:

       (a) Note # 1.     Litton shall be treated as partially secured in an amount
equal to the value of the collateral. Litton shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to Litton, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $42,000.00. Monthly payments shall be in the
amount of $225.47 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Litton’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (b) Note # 2.      Litton shall be treated as partially secured in an amount
equal to the value of the collateral. Litton shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to Litton, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $42,000.00. Monthly payments shall be in the
amount of $225.47 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Litton’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.


                                        63
 Case 10-30942    Doc 463     Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                              Document      Page 64 of 91



      (c) Note # 3.      Litton shall be treated as partially secured in an amount
equal to the value of the collateral. Litton shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to Litton, with interest at the rate of five percent (5%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $42,000.00. Monthly payments shall be in the
amount of $225.47 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Litton’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.




U.    Class XXI – LOANCARE:

      (1)   Classification.     Class XXI consist of sixteen obligations with

LoanCare more particularly described as follows:

       (a) Upon information and belief on or about July 16, 2002, the Debtors
entered into a Promissory Note with Springs Mortgage Corporation in the original
principal amount of $48,300.00 (“Note#1”) Note # 1 was secured by a Deed of
Trust, taking an assignment of rents. Said Note and Deed of Trust were transferred
to Loan Care Servicing Center (“LoanCare”). The Deed of Trust is secured by
property located 1006 Briarwood Drive, Dallas, North Carolina. LoanCare filed
proof of claim 38 in the amount of $47,353.82.

      (b) Upon information and belief on or about May 23, 2002, the Debtors
entered into a Promissory Note and Deed of Trust with Springs Mortgage
Corporation in the original principal amount of $61,000.00 (“Note#2”) Note # 2
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
of Trust were transferred to Loan Care. The Deed of Trust is secured by property
located at 2653 Goble Street, Gastonia, North Carolina. LoanCare filed proof of
claim # 89 in the amount of $66,727.60

      (c) Upon information and belief on or about May 23, 2002, the Debtors
entered into a Promissory Note and Deed of Trust with Springs Mortgage
Corporation in the original principal amount of $61,000.00 (“Note#3”) Note # was
secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed of
                                         64
 Case 10-30942   Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                           Document      Page 65 of 91



Trust were transferred to LoanCare. The Deed of Trust is secured by property
located at 2713 Goble Street, Gastonia, North Carolina. The Debtors estimate
LoanCare’s claim to be $56,308.24

      (d) Upon information and belief on or about May 30, 2002, the Debtors
entered into a Promissory Note and Deed of Trust with Springs Mortgage
Corporation in the original principal amount of $56,580.00 (“Note#4”) Note # 4
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
of Trust were transferred to LoanCare. The Deed of Trust is secured by property
located at 2717 Goble Street, Gastonia, North Carolina. LoanCare filed proof of
claim # 80 in the amount of $60,564.60.

      (e) Upon information and belief on or about May 30, 2002, the Debtors
entered into a Promissory Note and Deed of Trust with Springs Mortgage
Corporation in the original principal amount of $56,580.00 (“Note# 5”) Note #5
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
of Trust were transferred to LoanCare. The Deed of Trust is secured by property
located at 2721 Goble Street, Gastonia, North Carolina. LoanCare filed proof of
claim # 82 in the amount of $61,290.58.

      (f) Upon information and belief on or about May 30, 2002, the Debtors
entered into a Promissory Note and Deed of Trust with Springs Mortgage
Corporation in the original principal amount of $56,580.00 (“Note# 6”) Note # 6
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
of Trust were transferred to LoanCare. The Deed of Trust is secured by property
located at 2725 Goble Street, Gastonia, North Carolina. The Debtors estimate
LoanCare’s claim to be $62,410.65.
.
      (g) Upon information and belief on or about May 30, 2002, the Debtors
entered into a Promissory Note and Deed of Trust with Springs Mortgage
Corporation in the original principal amount of $56,580.00 (“Note# 7”) Note # 7
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
of Trust were transferred to LoanCare. The Deed of Trust is secured by property
located at 2733 Goble Street, Gastonia, North Carolina. LoanCare filed proof of
claim # 83 in the amount of $56,227.51.

      (h) Upon information and belief on or about July 18, 2002, the Debtors
entered into a Promissory Note and Deed of Trust with Springs Mortgage
Corporation in the original principal amount of $44,160.00 (“Note#8”) Note # 8
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
                                       65
 Case 10-30942   Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                           Document      Page 66 of 91



of Trust were transferred to LoanCare. The Deed of Trust is secured by property
located at 2138 Hartford Street, Gastonia, North Carolina. The Debtors estimate
LoanCare’s claim to be $39,071.21.

      (i) Upon information and belief on or about July 11, 2002, the Debtors
entered into a Promissory Note and Deed of Trust with Springs Mortgage
Corporation in the original principal amount of $47,600.00 (“Note# 9”) Note # 9
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
of Trust were transferred to LoanCare. The Deed of Trust is secured by property
located at 3019 Salem Drive, Gastonia, North Carolina. The Debtors estimate that
LoanCare’s claim will be $51,762.55.

      (j) Upon information and belief on or about July 12, 2002 the Debtors
entered into a Promissory Note and Deed of Trust with Springs Mortgage
Corporation in the original principal amount of $46,900.00 (“Note # 10”) Note #
10 was secured by a Deed of Trust, taking an assignment of rents. Said Note and
Deed of Trust were transferred to LoanCare. The Deed of Trust is secured by
property located at 906 Shannon Bradley Street, Gastonia, North Carolina. The
Debtors estimate that LoanCare’s claim will be $42,849.14.

      (k) Upon information and belief on or about August 14, 2002, the Debtors
entered into a Promissory Note and Deed of Trust with Springs Mortgage
Corporation in the original principal amount of $56,000.00 (“Note# 11”) Note # 11
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
of Trust were transferred to LoanCare. The Deed of Trust is secured by property
located at 2724 Westview Street, Gastonia, North Carolina. The Debtors estimate
LoanCare’s claim will be 54,809.49.

      (l) Upon information and belief on or about July 16, 2002, the Debtors
entered into a Promissory Note and Deed of Trust with Springs Mortgage
Corporation in the original principal amount of $47,600.00 (“Note# 12”) Note # 12
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
of Trust were transferred to LoanCare. The Deed of Trust is secured by property
located at 2722 Westview Street, Gastonia, North Carolina. The Debtors estimate
LoanCare’s claim will be 47,479.70.

      (m) Upon information and belief on or about May 23, 2002, the Debtors
entered into a Promissory Note and Deed of Trust with Springs Mortgage
Corporation in the original principal amount of $61,000.00 (“Note# 13”) Note # 13
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
                                       66
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20    Desc Main
                            Document      Page 67 of 91



of Trust were transferred to LoanCare. The Deed of Trust is secured by property
located at 2705 Goble Street, Gastonia, North Carolina. The Debtors estimate
LoanCare’s claim will be $57,792.66.

      (m) Upon information and belief on or about July 12, 2002, the Debtors
entered into a Promissory Note and Deed of Trust with Springs Mortgage
Corporation in the original principal amount of $46,900.00 (“Note# 14”) Note # 14
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
of Trust were transferred to LoanCare. The Deed of Trust is secured by property
located at 2709 Goble Street, Gastonia, North Carolina. LoanCare filed proof of
claim # 37 in the amount of $47,973.69.

      (o) Upon information and belief on or about April 12, 2002, the Debtors
entered into a Promissory Note and Deed of Trust with Springs Mortgage
Corporation in the original principal amount of $46,500.00 (“Note# 15”) Note # 15
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
of Trust were transferred to Loan Care. The Deed of Trust is secured by property
located at 112 Miller Street, Gastonia, North Carolina. The Debtors estimate
LoanCare’s claim will be $43,705.60.

      (p) Upon information and belief on or about April 12, 2002, the Debtors
entered into a Promissory Note and Deed of Trust with Springs Mortgage
Corporation in the original principal amount of $63,750.00 (“Note# 16”) Note # 16
was secured by a Deed of Trust, taking an assignment of rents. Said Note and Deed
of Trust were transferred to LoanCare. The Deed of Trust is secured by property
located at 517 Tareyton Street, Gastonia, North Carolina. LoanCare filed proof of
claim # 77 in the amount of $70,138.89

      (2)   Impairment. This class will be impaired.

      (3)   Treatment. The Debtors propose the following treatment:

        (a) Note # 1.      LoanCare shall be treated as partially secured in an
amount equal to the value of the collateral. LoanCare shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to LoanCare, with interest at the rate of five percent
(5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $44,500.00. Monthly payments shall
be in the amount of $238.89 beginning on the fifteenth day of the first full month
                                        67
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20    Desc Main
                            Document      Page 68 of 91



following the Effective Date. The balance of LoanCare’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.

       (b) Note # 2.       LoanCare shall be treated as partially secured in an
amount equal to the value of the collateral. LoanCare shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to LoanCare, with interest at the rate of five percent
(5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $42,000.00. Monthly payments shall
be in the amount of $225.47 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of LoanCare’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.

        (c)Note # 3        LoanCare shall be treated as partially secured in an
amount equal to the value of the collateral. LoanCare shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to LoanCare, with interest at the rate of five percent
(5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $42,000.00. Monthly payments shall
be in the amount of $225.47 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of LoanCare’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.

        (d) ) Note # 4.    LoanCare shall be treated as partially secured in an
amount equal to the value of the collateral. LoanCare shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to LoanCare, with interest at the rate of five percent
(5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $42,000.00. Monthly payments shall
be in the amount of $225.47 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of LoanCare’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.

        (e) Note # 5.      LoanCare shall be treated as partially secured in an
amount equal to the value of the collateral. LoanCare shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
                                         68
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20    Desc Main
                            Document      Page 69 of 91



shall make monthly payments to LoanCare, with interest at the rate of five percent
(5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $42,000.00. Monthly payments shall
be in the amount of $225.47 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of LoanCare’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.

       (f) ) Note # 6.     LoanCare shall be treated as partially secured in an
amount equal to the value of the collateral. LoanCare shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to LoanCare, with interest at the rate of five percent
(5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $42,000.00. Monthly payments shall
be in the amount of $225.47 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of LoanCare’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.

        (g) ) Note # 7.    LoanCare shall be treated as partially secured in an
amount equal to the value of the collateral. LoanCare shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to LoanCare, with interest at the rate of five percent
(5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $42,000.00. Monthly payments shall
be in the amount of $225.47 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of LoanCare’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.

        (h) ) Note # 8.    LoanCare shall be treated as partially secured in an
amount equal to the value of the collateral. LoanCare shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to LoanCare, with interest at the rate of five percent
(5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $30,000.00. Monthly payments shall
be in the amount of $161.05 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of LoanCare’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.


                                        69
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20    Desc Main
                            Document      Page 70 of 91



       (i) ) Note # 9.     LoanCare shall be treated as partially secured in an
amount equal to the value of the collateral. LoanCare shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to LoanCare, with interest at the rate of five percent
(5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $33,000.00. Monthly payments shall
be in the amount of $177.15 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of LoanCare’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.

       (j) ) Note # 10.    LoanCare shall be treated as partially secured in an
amount equal to the value of the collateral. LoanCare shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to LoanCare, with interest at the rate of five percent
(5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $32,500.00. Monthly payments shall
be in the amount of $174.47 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of LoanCare’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.

       (k) Note # 11.      LoanCare shall be treated as partially secured in an
amount equal to the value of the collateral. LoanCare shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to LoanCare, with interest at the rate of five percent
(5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $42,000.00. Monthly payments shall
be in the amount of $225.47 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of LoanCare’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.

       (l) Note # 12.      LoanCare shall be treated as partially secured in an
amount equal to the value of the collateral. LoanCare shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to LoanCare, with interest at the rate of five percent
(5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $39,000.00. Monthly payments shall
                                        70
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20    Desc Main
                            Document      Page 71 of 91



be in the amount of $209.36 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of LoanCare’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.

       (m) ) Note # 13. LoanCare shall be treated as partially secured in an
amount equal to the value of the collateral. LoanCare shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to LoanCare, with interest at the rate of five percent
(5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $42,000.00. Monthly payments shall
be in the amount of $225.47 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of LoanCare’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.

       (n) Note # 14.      LoanCare shall be treated as partially secured in an
amount equal to the value of the collateral. LoanCare shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to LoanCare, with interest at the rate of five percent
(5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $42,000.00. Monthly payments shall
be in the amount of $225.47 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of LoanCare’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.

       (o) Note # 15.      LoanCare shall be treated as partially secured in an
amount equal to the value of the collateral. LoanCare shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to LoanCare, with interest at the rate of five percent
(5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $28,500.00. Monthly payments shall
be in the amount of $152.99 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of LoanCare’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.

       (p) Note # 16.      LoanCare shall be treated as partially secured in an
amount equal to the value of the collateral. LoanCare shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
                                         71
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20    Desc Main
                            Document      Page 72 of 91



the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to LoanCare, with interest at the rate of five percent
(5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $37,000.00. Monthly payments shall
be in the amount of $198.62 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of LoanCare’s claim shall be treated as a
general unsecured claim in Class XXVI as described below.


(V)   Class XXII – Nexity Bank:

      (1)   Classification. Class XXII consists of the following secured claims:

   (a) Upon information and belief on or about, the Debtors entered into a
Promissory Note with Nexity Bank in the original principal amount of $389,600.00
(“Note#1”) Note # 1 was modified by Modification Agreement-Deed of Trust
dated July 22, 2009, extending the maturity date until July 25, 2014. Note # 1 is
secured by a Deed of Trust, taking a security interest in rents and profits, and all
proceeds thereof in any form. The Deed of Trust is secured by the following
properties all of which have appraisal values of $33,000.00 each: (1) 2000 Gothic
Court; (2) 2001 Gothic Court; (3) 2006 Gothic Court; (4) 2007 Gothic Court; (5)
2094 Hartford drive; (6) 2102 Hartford Drive; (7) 2156 Hartford Drive (8) 2124
Springfield Drive, all located in Gastonia, North Carolina. Nexity Bank filed proof
of claim # 8 in the amount of $294,755.65.

      (2)   Impairment. This class will be impaired.

      (3)   Treatment. The Debtors propose the following treatment:

        (a) Note # 1.      Nexity Bank shall be treated as partially secured in an
amount equal to the value of the collateral. Nexity shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to Nexity Bank, with interest at the rate of five
percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $294,755.65. Monthly payments
shall be in the amount of $1,582.31 beginning on the fifteenth day of the first full
month following the Effective Date.

W.    Class XXIII– RBC BANK :
                                        72
 Case 10-30942      Doc 463      Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                                 Document      Page 73 of 91




         (1)   Classification.      Class XXIII consists of the following secured

claim:

(a) Upon information and belief on or about February 20, 2001 the Debtors
entered into a Equity Line of Credit Account Agreement and Disclosure and a
Deed of Trust with Centura Bank (“RBC Bank”) in the original principal amount
of $100,000.00 (“Note # 1”) Note # 1 was secured by a Deed of Trust, taking a
security interest in rents and profits, and all proceeds thereof in any form.. The
Deed of Trust is secured by property located at 1228 Oliver Hill Rd, Banner ELD,
North Carolina. RBC Bank (USA) filed proof of claim # 78 in the amount of
$99,585.83..

         (2)   Impairment. This class will be impaired.

         (3)   Treatment. The Debtors propose the following treatment

       (a) RBC Bank shall be treated as fully secured in an amount equal to the
value of the collateral. RBC Bank shall retain its lien with the priority thereof, as
existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the Bankruptcy
Code, until its allowed secured claim is paid in full. The Debtors shall make
monthly payments to RBC Bank, with interest at the rate of four percent (4%) per
annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $99,585.93.00. Monthly payments shall be in the
amount of $475.44 beginning on the fifteenth day of the first full month following
the Effective Date.

X.       Class XXIV – U.S. Bank:

         (1)   Classification. Class XXIV consists of the following six secured

claims:

    (a) Upon information and belief on or about September 7, 2005, the Debtors
entered into a Promissory Note with Credit Suisse First Boston Financial
Corporation in the original principal amount of $56,000.00 (“Note#1”) Note # 1
was secured by a Deed of Trust, taking a security interest in rents and profits, and
all proceeds thereof in any form. Said Note and Deed of Trust were transferred to
U.S. Bank National (“U.S. Bank”). The Deed of Trust is secured by property
                                            73
 Case 10-30942     Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20       Desc Main
                             Document      Page 74 of 91



located at 805 North Avon Street, Gastonia, North Carolina. U.S. Bank filed proof
of claim # 25 in the amount of $57,702.94.

 (b) Upon information and belief on or about July 28, 2006, the Debtors entered
into a Promissory Note and Deed of Trust with Credit Suisse Financial Corporation
in the original principal amount of $,67,000.00 (“Note#2”) Note # 2 was secured
by a Deed of Trust, taking a security interest in rents and profits, and all proceeds
thereof in any form. Said Note and Deed of Trust were transferred to U.S. Bank
National (“U.S. Bank”).The Deed of Trust is secured by property located at 2525
Myers Street, Gastonia, North Carolina. U.S. Bank filed proof of claim # 20 in the
amount of $71,392.39.

(c) Upon information and belief on or about July 28, 2006, the Debtors entered
into a Promissory Note Credit Suisse Financial Corporation in the original
principal amount of $71,700.00 (“Note#3”) Note # 3 was secured by a Deed of
Trust, taking a security interest in, rents and profits, and all proceeds thereof in any
form. Said Note and Deed of Trust were transferred to U.S. Bank National (“U.S.
Bank”).The Deed of Trust is secured by property located at 2727Westview Street,
Gastonia, North Carolina. U.S. Bank filed proof of claim # 24 in the amount of
$76,989.07

(d) Upon information and belief on or about July 28, 2006, the Debtors entered
into a Promissory Note Credit Suisse Financial Corporation in the original
principal amount of $66,500.00. (“Note # 4”) Note # 4 was secured by a Deed of
Trust, taking a security interest in rents and profits, and all proceeds thereof in any
form. Said Note and Deed of Trust were transferred to U.S. Bank National (“U.S.
Bank”).The Deed of Trust is secured by property located at 726 Davidson Street,
Gastonia, North Carolina. U.S. Bank filed proof of claim # 27 in the amount of
$71,185.65.

(e) Upon information and belief on or about July 28, 2006, the Debtors entered
into a Promissory Note and Deed of Trust with Credit Suisse Financial
Corporation, in the original principal amount of $67,400.00 (“Note # 5) Note # 5
was secured by a Deed of Trust, taking a security interest in rents and profits, and
all proceeds thereof in any form. Said Note and Deed of Trust were transferred to
U.S. Bank National (“U.S. Bank”). The Deed of trust is secured by property
located at 2519 Gardner Street, Gastonia, North Carolina. U.S. Bank filed proof of
claim # 21 in the amount of $76,752.77



                                          74
 Case 10-30942    Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20      Desc Main
                             Document      Page 75 of 91



(f)   Upon information and belief on or about September 7, 2005 the Debtors
entered into a Promissory Note with Amtrust Mortgage Corporation in the original
principal amount of $52,000.00 (“Note #6”) Note # 6 was secured by a Deed of
Trust, taking an taking a security interest in rents and profits, and all proceeds
thereof in any form. Said Note and Deed of Trust were transferred to U.S. Bank
National (“U.S. Bank”). The Deed of Trust is secured by property located at 3054
Crawford Street, Gastonia, North Carolina. U.S. Bank filed proof of claim # 23 in
the amount of $53,072.24

      (2)    Impairment. This class will be impaired.

      (3)    Treatment. The Debtors propose the following treatment:

        (a) Note # 1.      U.S. Bank shall be treated as partially secured in an
amount equal to the value of the collateral. U.S. Bank shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to U.S. Bank, with interest at the rate of five percent
(5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $52,000.00. Monthly payments shall
be in the amount of $248.26 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of U.S. Bank’s claim shall be treated as
a general unsecured claim in Class XXVI as described below.

      (b) Note # 2.U.S. Bank shall be treated as partially secured in an amount
equal to the value of the collateral. U.S. Bank shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to U.S. Bank, with interest at the rate of five percent (5%)
per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $41,700.00. Monthly payments shall be in the
amount of $199.08 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of U.S. Bank’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (c) Note # 3. U.S. Bank shall be treated as partially secured in an amount
equal to the value of the collateral. U.S. Bank shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to U.S. Bank with interest at the rate of five percent (5%)
                                          75
 Case 10-30942    Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20      Desc Main
                             Document      Page 76 of 91



per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $46,000.00. Monthly payments shall be in the
amount of $219.61 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of U.S. Bank’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (d) Note #4. U.S. Bank shall be treated as partially secured in an amount
equal to the value of the collateral. U.S. Bank shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to U.S. Bank, with interest at the rate of five percent (5%)
per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $56,500.00. Monthly payments shall be in the
amount of $269.74 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of U.S. Bank’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (e) Note # 5. U.S. Bank shall be treated as partially secured in an amount
equal to the value of the collateral. U.S. Bank shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors shall
make monthly payments to U.S. Bank, with interest at the rate of five percent (5%)
per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $48,000.00. Monthly payments shall be in the
amount of $229.16 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of U.S. Bank’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

      (f) Note # 6. U.S. Bank shall be treated as partially secured in an amount
equal to the value of the collateral. U.S. Bank shall retain its lien with the priority
thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of the
Bankruptcy Code, until its allowed secured claim is paid in full. The Debtor shall
make monthly payments to U.S. Bank, with interest at the rate of five percent (5%)
per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtor estimates this claim to be $30,000.00. Monthly payments shall be in the
amount of $143.22 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of U.S. Bank’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.



                                          76
 Case 10-30942    Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20     Desc Main
                             Document      Page 77 of 91



Y.    Class XXV – Wells Fargo Bank:

  1. Classifications:     Class XXV consists of nine obligations with Wells Fargo
more particularly described as follows:

    (a) Upon information and belief on or about December 22, 2004, the Debtors
entered into a Deed of Trust and Security Instrument with Amtrust Mortgage
Corporation in the original principal amount of $48,000.00. (“Note#1”) Note # 1
was transferred to Wells Fargo Bank. Note # 1 was secured by a Deed of Trust,
taking a security interest in rents and profits, or proceeds paid thereof. The Deed of
Trust is secured by property located at 719 Davie Street, Gastonia, North Carolina.
Wells Fargo Bank filed proof of claim # 16 in the amount of $54,092.70.

    (b) Upon information and belief on or about December 22, 2004, the Debtors
entered into a Deed of Trust and Security Instrument with Amtrust Mortgage
Corporation in the original principal amount of $71,200.00. (“Note#2”) Note # 2
was transferred to Wells Fargo Bank. Note # 2 was secured by a Deed of Trust,
taking a security interest in among other things, rents, and profits, and all proceeds
thereof in any form. The Deed of Trust is secured by property located at 531
Sherman Street, Gastonia, North Carolina. Wells Fargo filed proof of claim # 18
in the amount of $78,418.75.

    (c) Upon information and belief on or about December 22, 2004, the Debtors
entered into a Deed of Trust and Security Instrument with Amtrust Mortgage
Corporation in the original principal amount of $54,400.00 (“Note#3”) Note # 3
was secured by a Deed of Trust, taking a security interest in rents and profits, and
all proceeds thereof in any form. Said Note was transferred to Wells Fargo. The
Deed of Trust is secured by property located at 2611 Goble Street, Gastonia, North
Carolina. Wells Fargo filed proof of claim # 17 in the amount of $61,245.75.

    (d) Upon information and belief on or about August 26, 2004, the Debtors
entered into a Deed of Trust and Security Instrument with Wells Fargo Bank, N.A.,
in the original principal amount of $54,400.00 (“Note # 4”) Note # 4 was secured
by a Deed of Trust, taking a security interest in rents and profits, and all proceeds
thereof in any form. The Deed of Trust is secured by property located at 2131
Hartford Drive, Gastonia, North Carolina. Wells Fargo filed proof of claim # 59 in
the amount of $48,008.90.

   (e) Upon information and belief on or about July 13, 2006, the Debtors entered
into a Deed of Trust and Security Instrument with Wells Fargo Bank, N.A., in the
                                         77
 Case 10-30942   Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20   Desc Main
                           Document      Page 78 of 91



original principal amount of $68,400.00 (“Note # 5”) Note # 5 was secured by a
Deed of Trust, taking a security interest in rents and profits, and all proceeds
thereof in any form. The Deed of Trust is secured by property located at 2523
Myers Street, Gastonia, North Carolina. Wells Fargo filed proof of claim # 39 in
the amount of $78,206.89.

   (f) Upon information and belief on or about July 3, 2006, the Debtors entered
into a Deed of Trust and Security Instrument with Wells Fargo Bank, N.A., in the
original principal amount of $68,400.00 (“Note # 6”) Note # 6 was secured by a
Deed of Trust, taking a security interest in rents and profits, and all proceeds
thereof in any form. The Deed of Trust is secured by property located at 2733
Westview Street, Gastonia, North Carolina. Wells Fargo filed proof of claim # 71
& 72 in the amount of $80,708.41.

    (g) Upon information and belief on or about July 3, 2006, the Debtors entered
into a Deed of Trust and Security Instrument with Wells Fargo Bank, N.A., in the
original principal amount of 7$68,400.00 (“Note # 7”) Note # 7 was secured by a
Deed of Trust, taking a security interest in rents and profits, and all proceeds
thereof in any form. The Deed of Trust is secured by property located at 2721
Westview Street, Gastonia, North Carolina. Wells Fargo filed proof of claim # 86
in the amount of $46,913.53

    (h) Upon information and belief on or about July 3, 2006, the Debtors entered
into a Deed of Trust and Security Instrument with Wells Fargo Bank, N.A., in the
original principal amount of 73,600.00 (“Note # 8”) Note # 8 was secured by a
Deed of Trust, taking a security interest in rents and profits, and all proceeds
thereof in any form. The Deed of Trust is secured by property located at 2723
Westview Street, Gastonia, North Carolina. Wells Fargo filed proof of claim # 75
in the amount of $79,404.30.

    (i) Upon information and belief on or about July 3, 2006, the Debtors entered
into a Deed of Trust and Security Instrument with Wells Fargo Bank, N.A., in the
original principal amount of $73,600.00 (“Note # 9”) Note # 9 was secured by a
Deed of Trust, taking a security interest in rents and profits, and all proceeds
thereof in any form. The Deed of Trust is secured by property located at 2713
Westview Street, Gastonia, North Carolina. Wells Fargo filed proof of claim # 87
in the amount of $81,128.75


      (2)   Impairment. This class will be impaired.
                                       78
 Case 10-30942    Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20      Desc Main
                             Document      Page 79 of 91




      (3)    Treatment.

        (a) Note # 1.      Wells Fargo’s claim shall be treated as partially secured
in an amount equal to the value of the collateral. Wells Fargo shall retain its lien
with the priority thereof, as existed on the Petition Date pursuant to
1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is paid
in full. The Debtors shall pay monthly payments to Wells Fargo, with interest at
the rate of five percent (5%)per annum amortized over a period of thirty (30) years.
For feasibility purposes the Debtors estimate this claim to be $30,000.00. Monthly
payments shall be in the amount of $161.05 beginning on the fifteenth day of the
first full month following the Effective Date. The balance of Wells Fargo’s claim
shall be treated as a general unsecured claim in Class XXVI as described below.

        (b) Note # 2.      Wells Fargo’s claim shall be treated as partially secured
in an amount equal to the value of the collateral. Wells Fargo shall retain its lien
with the priority thereof, as existed on the Petition Date pursuant to
1129(b)(2)(A)(i)(I) of the Bankruptcy Code, until its allowed secured claim is paid
in full. The Debtors shall pay monthly payments to Wells Fargo, with interest at
the rate of five percent (5%)per annum amortized over a period of thirty (30) years.
For feasibility purposes the Debtors estimate this claim to be $42,000.00. Monthly
payments shall be in the amount of $200.51 beginning on the fifteenth day of the
first full month following the Effective Date. The balance of Wells Fargo’s claim
shall be treated as a general unsecured claim in Class XXVI as described below.

       (c) Note # 3.       Wells Fargo shall be treated as partially secured in an
amount equal to the value of the collateral. Wells Fargo shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to Wells Fargo, with interest at the rate of five
percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $37,000.00. Monthly payments shall
be in the amount of $198.62 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of Wells Fargo’s claim shall be treated
as a general unsecured claim in Class XXVI as described below.

       (d) Note # 4.       Wells Fargo shall be treated as partially secured in an
amount equal to the value of the collateral. Wells Fargo shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
                                          79
 Case 10-30942    Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20      Desc Main
                             Document      Page 80 of 91



shall make monthly payments to Wells Fargo, with interest at the rate of five
percent (5%)per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $33,000.00. Monthly payments shall
be in the amount of $177.15 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of Wells Fargo’s claim shall be treated
as a general unsecured claim in Class XXVI as described below.

       (e) Note 5.         Wells Fargo shall be treated as partially secured in an
amount equal to the value of the collateral. Wells Fargo shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to Wells Fargo, with interest at the five percent (5%)
per annum amortized over a period of thirty (30) years. For feasibility purposes the
Debtors estimate this claim to be $41,700.00. Monthly payments shall be in the
amount of $223.85 beginning on the fifteenth day of the first full month following
the Effective Date. The balance of Wells Fargo’s claim shall be treated as a general
unsecured claim in Class XXVI as described below.

       (f) Note # 6.       Wells Fargo shall be treated as partially secured in an
amount equal to the value of the collateral. Wells Fargo shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to Wells Fargo, with interest at the rate of five
percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $42,000.00 Monthly payments shall
be in the amount of $225.47 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of Wells Fargo claim shall be treated as
a general unsecured claim in Class XXVI as described below.

       (g) Note # 7.       Wells Fargo shall be treated as partially secured in an
amount equal to the value of the collateral. Wells Fargo shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to Wells Fargo, with interest at the rate of five
percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $36,000.00. Monthly payments shall
be in the amount of $193.26 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of Wells Fargo claim shall be treated as
a general unsecured claim in Class XXVI as described below.


                                          80
 Case 10-30942    Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20      Desc Main
                             Document      Page 81 of 91



       (h) Note # 8.       Wells Fargo shall be treated as partially secured in an
amount equal to the value of the collateral. Wells Fargo shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to Wells Fargo, with interest at the rate of five
percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtor estimates this claim to be $42,000.00. Monthly payments shall
be in the amount of $225.47 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of Wells Fargo claim shall be treated as
a general unsecured claim in Class XXVI as described below.

       (i) Note # 9.       Wells Fargo shall be treated as partially secured in an
amount equal to the value of the collateral. Wells Fargo shall retain its lien with the
priority thereof, as existed on the Petition Date pursuant to 1129(b)(2)(A)(i)(I) of
the Bankruptcy Code, until its allowed secured claim is paid in full. The Debtors
shall make monthly payments to Wells Fargo with interest at the rate of five
percent (5%) per annum amortized over a period of thirty (30) years. For feasibility
purposes the Debtors estimate this claim to be $42,000.00. Monthly payments shall
be in the amount of $225.47 beginning on the fifteenth day of the first full month
following the Effective Date. The balance of Wells Fargo claim shall be treated as
a general unsecured claim in Class XXVI as described below.


      Z.     Class XXVI – General Unsecured Claims:

      (1) Classification.     Class XXVI consists of all allowed, undisputed,
non-contingent unsecured claims listed in the Debtors’ petition or as otherwise
approved by the Court.

      (2)    Impairment. This class will be impaired.

       (3) Treatment. The total amount of general unsecured claims and
deficiency claims is estimated at $2,018,034.00 as of the date of the filing of the
Amended Plan. The Debtors propose to pay the unsecured claims in this class all
of their disposable income to be received during the 5 year period, as determined
by the court, beginning on the date that the first payment is due under the plan,
pursuant to §1129(a)(15)(B) of the Bankruptcy Code. The Debtors propose to pay
the unsecured claims as follows: the Debtor shall pay the claims in this class in
annual installments over a period not to exceed five years from the effective date


                                          81
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20    Desc Main
                            Document      Page 82 of 91



and payments shall commence on the fifteenth day of the twelfth full month
following the Effective Date.

      The Debtors may investigate and pursue avoidance actions pursuant to the
Bankruptcy Code. Any funds collected through such actions will be distributed in
accordance with the priorities established by the Bankruptcy Code and Orders of
this Court.


      aa.   Class XXVII – Equity Security Holders:

      (1) Classification.       Class XXVII consists of pre-petition members of
the Debtors, as follows:

            William W. Gillespie                                50%
            Jimmie C. Gillespie                                 50%

      (2)   Impairment. This class will be impaired.

       (3) Treatment. All equity security holders shall retain his/her ownership
interests upon confirmation of the Debtors’ plan of reorganization.

      bb. Other Agreements. Notwithstanding the foregoing, each holder of an
Allowed Claim under Article III of the Plan may agree to less favorable treatment,
in which case, such holder shall be paid in accordance with such agreed treatment.


    IV. MEANS OF IMPLEMENTATION AND EXECUTION OF PLAN

      A.    The Debtors shall deposit all revenue into a designated bank account
and disburse all funds in accordance with the terms of this Plan.

       B.   Distributions under the Plan shall be made at the dates and times
described above in the treatment for each Class; provided however, that Court
approved professionals may be paid as such fees and expenses are approved by the
Court.

      C.     The Debtors will further execute and deliver all documentation to the
Bankruptcy Court and to all parties in interest who are entitled to receive the same
as required by the terms of this Plan and the Bankruptcy Code.
                                         82
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20     Desc Main
                            Document      Page 83 of 91




       D.    The Debtors shall take such other action as necessary to satisfy the
other terms and requirements of this Plan and the Bankruptcy Code.

       E.    All funds necessary for the implementation of this Plan shall be
obtained from funds (1) in the possession of the Debtors; (2) derived from the
operations of the Debtors’ business; or (3) derived from the investigation and
collection of avoidance actions.

       F.    RESERVE FOR DISPUTED CLAIMS: On and after the Effective
Date, the Debtors will reserve distributions for the holders of Disputed Claims in a
segregated account (the “Disputed Claims Reserve”) for the benefit of the holders
of the Disputed Claims entitled thereto under the Plan. Except to the extent that the
Court shall have estimated under Section 502(c) of the Code or otherwise
determined that a good and sufficient reserve for Disputed Claims is less than the
full amount thereof, there will be deposited into the Disputed Claims Reserve an
amount of cash which would have been disbursed on account of all Disputed
Claims if all Disputed Claims were allowed in the full amount claimed by the
holders thereof. At such time as a Disputed Claim becomes an Allowed Claim, the
distribution which would have been disbursed had the Disputed Claim been an
Allowed Claim on the Effective Date shall be released from the Disputed Claims
Reserve and delivered to the holder of such Allowed Claim within thirty days.
Claimants for which deposits have been made to the Disputed Claims Reserve
shall be considered to have been paid on such date that the Debtors deposits the
full amount of the Disputed Claim, or such amount required by the Court, in the
Disputed Claims Reserve. Confirmation of this Plan does not bar a party in interest
from objecting to a claim which is not filed in accordance with Federal Bankruptcy
Rules 3001 or 3002.

       G.    Except as expressly stated in the Plan, or allowed by a Final Order of
the Bankruptcy Court, no interest, penalty, or late charge shall be allowed on any
claim subsequent to the Petition Date, unless otherwise required by the Code. No
attorney’s fees or expenses shall be paid with respect to any claim except as
specified herein, as allowed by Section 506(b), or as allowed by a Final Order of
the Court.

       H.   All payments, distributions, or transfer to be made under the Plan,
except as expressly provided by the Plan or the Court, shall be made without
interest.


                                         83
 Case 10-30942    Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20      Desc Main
                             Document      Page 84 of 91



       I.      Confirmation of this plan shall constitute a finding that the Debtors do
not waive, release, or discharge, but rather retain and reserve any and all pre-
petition claims and any and all post-petition claims that it could or might assert
against any party or entity arising under or otherwise related to any state or federal
statute, state or federal common law, and any and all violations arising out of rights
or claims provided for by Title 11 of the United States Code, by the Federal Rules
of Bankruptcy Procedure, or by the Local Rules of this Court, including all rights
to assert and pursue any and all avoidance actions, preference actions, and any
other actions pursuant to 11 U.S.C. §§545, 546, 547, 548, 550, except to the extent
such avoidance actions, preference actions, or other actions were assigned to a
creditor(s) as part of the Debtors’ Plan. Further, the Debtors retain all rights to
assert and pursue all claims under 11 U.S.C. §542, including without limitation
actions to seek turnover of estate assets, actions to recover accounts receivable,
and/or actions to invalidate setoffs.

      J.    Administrative claims unpaid on the Effective Date will be paid from
funds on hand or as the parties otherwise agree.

       K.   All objections to claims, fee applications, deficiency claims, and
adversary proceedings for any cause of action arising prior to the Petition Date will
be filed with the Court within 60 days of the Effective Date. Adversary
Proceedings arising post-petition may be brought at any time prior to the entry of
the Final Decree.

       L.    No distributions of less than fifty dollars $50.00 shall be made to any
holder of an allowed unsecured claim. Instead, the Debtor shall have an option of
retaining such funds to be distributed at the final distribution in accordance with
the plan.

       M. If any distribution remains unclaimed for a period of 90 days after it
has been delivered, or attempted to be delivered, such unclaimed property shall be
forfeited by such holder of claim and the dispersing agent shall not attempt to
make any further distribution to holder of such claim. Undistributed property shall
be returned to the Debtors for distribution in accordance with the Plan.

             N.     Injunction. From and after the Confirmation Date, all holders
of “claims” (including, without limitation. Secured Claims, General Unsecured
Claims, and all Priority Claims) against the Debtors, The Debtors in Possession, or
Reorganized Debtors are permanently restrained and enjoined (i) commencing or
continuing, in any manner, any action or other proceeding of any kind with respect
                                          84
 Case 10-30942     Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20      Desc Main
                              Document      Page 85 of 91



to any such claim against the Debtors, the Assets, or Reorganized Debtors; (ii)
from enforcing, attaching, collecting or recovering, in any manner, any judgment,
award, decree or order against the Debtors, the Assets, or Reorganized Debtors;;
(iii) creating, perfecting, or enforcing any lien or encumbrance against the Debtors,
the Assets, or Reorganized Debtors;; (iv) from asserting a set-off or right of
recoupment of any kind against any debt, liability or obligation against the
Debtors, the Assets, or Reorganized Debtors;; and/or (v) commencing or
continuing, in any manner or any place, any act that does not comply with or is
inconsistent with the provisions of the Plan or Confirmation Order; provided,
however, that each holder of a contested claim may continue to prosecute its proof
of claim in accordance with accordance with the plan and all holders of claims
shall be entitled to enforce their rights under the plan. Notwithstanding the
foregoing, the Plan with the Provisions of the Plan does not release or waive any
claims it may have against any party in interest.


    V. SIMILAR TREATMENT FOR EACH CLAIM WITHIN A CLASS

       The claims stated herein, by modification, Court Order, or other legally
appropriate manner, might be modified throughout the course of payment under
this Plan. The Debtors, upon full payment as called for under the notes and deeds
of trust, shall be entitled to have the note marked paid and satisfied and the deed of
trust canceled as a matter of record, by the Trustee, or by appropriate application to
this Bankruptcy Court, and upon a showing that the full amount of the monthly
payments were made by the Debtors.

              VI. PROVISIONS GOVERNING DISTRIBUTIONS

    A. Delivery of Distributions in General. Distributions to holders of allowed
claims shall be made: (i) at the addresses set forth in the proofs of claim filed by
such holders; (ii) at the addresses set forth in any written notices of address change
submitted to the Court or Attorney for the Debtors after the date on which any
related proof of claim was filed; or, if the information described in clauses (i) or
(ii) is not available, (iii) at the addresses reflected in the Debtors’ schedules of
liabilities.

   B. Distribution Dates. It is the intent of this Plan that the distribution shall
occur as early as practicable following the Effective date.



                                           85
 Case 10-30942    Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20     Desc Main
                             Document      Page 86 of 91



   C. Cure Period. Failure by the Debtors to timely perform any term, provision or
covenant contained in this Plan shall not constitute an Event of Default unless or
until the Debtors have been given thirty days (30) written notice of the alleged
default and provided an opportunity to cure. Until the expiration of the thirty (30)
day cure period, The Debtors shall not be deemed to be in default, any
performance or actions taken during such thirty (30) day cure period shall be
considered timely for all purposes. Such written notice pursuant to the Plan
provisions and the passage of the thirty (30) day cure period shall constitute
precedent to bringing or filing any contested action by any person to enforce any
right granted under this Plan.

  VII. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED
                         LEASES

      Except as specified herein, all contracts which exist between the Debtors and
any individual or entity, whether such contract be in writing or oral, which have
not heretofore been rejected or heretofore been approved by Orders of the Court
are hereby specifically rejected; provided, however, that this provision is not
intended to reject and does not reject any agreement for the renewal or the
extension of any loan or funds, presently binding and in effect between the Debtors
and any secured creditor. The Debtors hereby assume all leases currently in effect,
in which the Debtors are Lessors.

             VIII. ACCEPTANCE OR REJECTION OF PLAN:
            EFFECT OF REJECTION BY AN IMPAIRED CLASS

   A. Each Impaired Class Entitled to Vote Separately. Each impaired class of
claims shall be entitled to have the holders of claims therein vote separately as a
class to accept or reject the Plan.

   B. Acceptance by a Class of Creditors. Consistent with §1126( c) of the
       Bankruptcy Code,
and except as provided in §1126 (c) of the Bankruptcy Code, a class of claims shall
have accepted the Plan if the Plan is accepted by holders of at least two-thirds (2/3)
in dollar amount and more than one-half (1/2) in number of the allowed claims of
that class that have timely and properly voted to accept or reject the Plan.

   C. Claimants Entitled to Vote. Holders of impaired claims shall be entitled t
vote if:


                                         86
 Case 10-30942     Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20      Desc Main
                             Document      Page 87 of 91



   (1) Such claim has been filed against the Debtors in a liquidated amount or has
       been listed on the Debtors’ schedules other than as contingent, unliquidated
       or disputed, and as to which no proof of claim has been filed. The claim
       shall be allowed solely for the purpose of voting on the Plan in the amount in
       which such claim has been filed or listed on the Debtors’ schedules;

   (2) Such claim has been filed against the Debtors or listed the Debtors’
       schedules and is the subject of an existing objection filed by the Debtors,
       and is temporarily allowed for voting purposes by order of the Court in
       accordance with Bankruptcy Rule 3018.

   (3) Such claim has been filed in an undetermined amount, in which case the
       creditor shall not be entitled to vote unless the Debtors and the holder of the
       claim agree on an amount for voting purposes or the Court enters an order
       setting the amount of the claim that the creditor may ballot.

   (4) Any entity holding two or more duplicate claims shall be entitled to vote
       only one claim.

   D. Confirmation Hearing. The Court will set a hearing on the confirmation of
the Plan to determine whether the Plan has been accepted by the requisite number
of creditors and whether the other requirements for confirmation of the Plan have
been satisfied.

   E. Acceptances Necessary to Confirm the Plan. At the hearing of the
confirmation of the Plan, the Court shall determine, among other things, whether
the Plan has been accepted by each impaired class. Under §1126 of the
Bankruptcy Code, an impaired class of Creditors is deemed to accept the Plan if at
least two-thirds (2/3) in amount and more than one-half (1/2) in number vote to
accept the Plan. Further, unless there is unanimous acceptant of the Plan by an
impaired class, the Court must also determine that class members will receive
property with a value, as of the Effective Date of the Plan, that is not less than the
amount that such class member would receive or retain if the Debtors were
liquidated as of the Effective Date of the Plan under Chapter 7 of the Bankruptcy
Code.

   F. Confirmation of Plan Without Necessary Acceptances. The Bankruptcy
Code provides that the Plan may be confirmed even if it is not accepted by all
impaired Classes. In order to be confirmed without the requisite number of
acceptances of each impaired class, the Court must find that at least one impaired
                                          87
 Case 10-30942    Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20     Desc Main
                             Document      Page 88 of 91



class has accepted the Plan without regard to the acceptances of insiders, and the
Plan does not discriminate unfairly against, and is otherwise fair and equitable, to
such impaired class. In the event that any class votes against the plan, the Debtors
hereby request and moves the Court under the provisions of this Plan outlined in
Section IX herein, for confirmation pursuant to the “cramdown” provisions of
§1129(b) of the Bankruptcy Code. In connection therewith, the Debtors shall be
allowed to modify the proposed treatment of the allowed claims in any class that
votes against the Plan consistent with §1129(b)(2)(A).


              IX. “CRAMDOWN” FOR IMPAIRD CREDITORS
                      NOT ACCEPTING THE PLAN

       In respect to any class of creditors impaired but not accepting the Plan by the
requisite majority in number or two-thirds in amount, the proponent of this Plan
requests the Court to find that the Plan does not discriminate unfairly and is fair
and equitable in respect to each class of claims or interests that are impaired under
the Plan and that the Court confirm the Plan without such acceptance by the said
impaired classes. The Debtors will also request that the Court establish a value for
any assets, the value of which is in dispute between the Debtors and any secured
creditor, at a valuation hearing under Section 506 of the Bankruptcy Code, to be
scheduled at the same time as the hearing on confirmation of the Plan.

                     X. RETENTION OF JURISDICTION

       The Bankruptcy Court shall retain jurisdiction of these proceedings pursuant
to and for the purposes of Sections 105(a) and 1127 of the Code and for, without
limitation, the following purposes, inter alia:

    1. to determine any and all objections to the allowance of claims and/or
interests;

   2. to determine any and all applications for allowance of compensation for
periods prior to or after the Confirmation Date;

   3. to determine any and all applications pending on the Confirmation Date for
the rejection and disaffirmance or assumption or assignment or executory contracts
and the allowance of any claim resulting therefrom;

   4. to determine all controversies and disputes arising under or in connection
                                         88
 Case 10-30942    Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20     Desc Main
                             Document      Page 89 of 91



with the Plan;

   5. to determine all applications, adversary proceedings and litigated matters
pending on the Confirmation Date;

    6. to effectuate payments under, and performance of, the provisions of the
Plan, including, but not limited to, future sales of personal and real property
retained by the Estate.

   7. to determine such other matters and for such other purposes as may be
provided for in the confirmation order;

   8. to determine all disputes regarding property of the estate;

   9. to establish and adjust procedures for the orderly administration of the
estate;

  10. to determine matters that are subject to proceedings duly removed to the
Bankruptcy Court; and

   11.to replace the Debtors-in-Possession with a Trustee for good cause shown.


     XI. PAYMENTS UNDER THE PLAN ARE IN FULL AND FINAL
                   SATISFACTION OF DEBT

        Except as otherwise provided in §1141 of the Bankruptcy Code, or Plan, the
payments and distributions made pursuant to the Plan will be in full and final
satisfaction, settlement, release, and discharge, as against the Debtors, of any and
all claims against, and interests in, the Debtors, as defined in the Bankruptcy Code,
including, without limitation, any Claim or Equity Interests accrued or incurred on
or before the Confirmation Date, whether or not (i) a proof of claim or interest is
filed or deemed filed under §501 of the Bankruptcy Code, or (iii) the holder of
such Claim or Equity Interest has accepted the Plan.


                      XII. EFFECT OF CONFIRMATION

       A.      Except as otherwise provided in the Plan, the confirmation of the Plan
vests all of the property of the estate in the Debtors.
                                         89
 Case 10-30942     Doc 463    Filed 03/22/11 Entered 03/22/11 20:30:20      Desc Main
                              Document      Page 90 of 91




       B.    Injunction. As of the Confirmation Date, except as otherwise
provided in the Plan or the Confirmation Order, all persons that have held,
currently hold, or may hold a claim, equity interest, or other debt or liability that is
treated pursuant to the terms of the Plan or that is otherwise enjoined pursuant to
§1141 of the Code, are enjoined from taking any of the following actions on
account of any such claims, equity interests, debts or liabilities, other than actions
brought to enforce obligations under the Plan: (i) commencing or continuing, in
any manner, any action or other proceeding; (ii) enforcing, attaching, collecting or
recovering, in any manner, any judgment, award, decree or order; (iii) creating,
perfecting, or enforcing any lien or encumbrance; (iv) asserting a set-off or right of
recoupment of any kind against any debt, liability or obligation; and/or (v)
commencing or continuing, in any manner or any place, any act that does not
comply with or is inconsistent with the provisions of the Plan or Confirmation
Order. Notwithstanding the foregoing, the Plan with the Provisions of the Plan
does not release or waive any claims it may have against any party in interest.


                    XIII. MISCELLANEOUS PROVISIONS

    A. Survival of Terms. The covenants, representations and agreements made in
this Plan shall survive the Confirmation Date and the transactions contemplated
herein.

   B. Successors Bound. This Plan shall on the Consummation Date be binding
upon and inure to the benefit of the respective heirs, successors and assigns of the
Debtors, and the holders of claims and interests.

   C. Controlling Law. This Plan shall be read and construed and take effect in all
respects in accordance with the law as set forth in the United States Bankruptcy
Code and the Rules promulgated thereunder.

   D. Further Assurance. If at any time, the Debtors shall consider, or be advised,
that any further releases, assurances or documents are reasonably necessary or
desirable to carry out the provisions hereof, and the transactions contemplated
herein, the holders of claims and the holders of interest shall, upon reasonable
request, execute and deliver any and all documents and assurances, and do all
things necessary or appropriate to carry out fully the provisions hereof.

   E. Liens. All liens remaining in favor of any creditor in this action against real
                                           90
 Case 10-30942    Doc 463   Filed 03/22/11 Entered 03/22/11 20:30:20    Desc Main
                            Document      Page 91 of 91



property conveyed prior to the filing of the petition shall be deemed to be released
upon confirmation of the Plan. The Debtors shall request and all parties shall
provide such additional documentation as may be necessary to effectuate these
releases.




                        (this space intentionally left blank)




Respectfully submitted, this the 22nd day of March, 2011



      s/Robert Lewis, Jr.                           DEBTORS:
      ROBERT LEWIS, JR.                             WILLIAM W GILLESPIE
      N.C. State Bar #35806                         JIMMIE C. GILLESPIE
      LEWIS & COWIN LAW FIRM, P.A.
      803 C East Main Street
      Havelock, North Carolina 28532
      (252) 444-1717
      (252) 444-8667(fax)
      Attorney for Debtor




                                         91
